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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION


MARC VEASEY, et al.,

                      Plaintiffs,

               v.                                     Civil Action No. 2:13-cv-193 (NGR)

RICK PERRY, et al.,

                      Defendants.


                    DECLARATION OF STEPHEN D. ANSOLABEHERE

       Pursuant to 28 U.S.C. § 1746, I, Stephen D. Ansolabehere, make the following

declaration:
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Corrected Supplemental Report

Stephen Ansolabehere

September 16, 2014

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I. Statement of Inquiry



1. I have been asked to identify which registered voters in the State of Texas have an

acceptable photographic identification required by Texas Senate Bill 14 (2011) (SB 14)

and which do not.



2. I was also asked to determine whether there is a disparity between the percent of

Anglo registered voters and Black or Hispanic registered voters who possess acceptable

SB 14 photo ID.



3. In order to determine the number of Texas registered voters without acceptable SB 14

photo ID, and to determine any racial disparities in rates of acceptable SB 14 ID between

Blacks, Hispanics, and Anglos, I was retained to match records in the Texas Election

Administration Management system (TEAM) voter registration database to relevant State

of Texas and Federal identification databases.



4. I was provided with data from the TEAM and Texas Department of Public Safety

(DPS) databases in February 2014. The extraction date of these data is January 15,

2014. In July, the State of Texas determined that its prior production of DPS records

was incomplete, and Texas provided information regarding the treatment of certain fields

on the DPS database. Specifically, Texas did not produce more than 3.1 million DPS

records for driver licenses and personal identification cards that should have been

included in the original data production. Upon receiving these additional 3.1 million




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records, I conducted the analyses in my original report with these additional 3.1 million

records. The results of that process are set out in my August 15, 2014 Supplemental and

Reply Report. The figures contained in my August 15, 2014 report are the ones as to

which I testified at trial in this case on September 2, 2014. On September 9, 2014,

Defendant Texas Department of Public Safety served amended answers to written

deposition questions regarding the meaning of certain fields in the DPS database. The

amended answers affected the way that I had treated one field from the driver license

database.1 As a result, I conducted the matching process again taking account of the

correction that DPS had made in its written deposition answers. The result of this process

is that 608,470 records in the TEAM voter registration database do not match to a State

of Texas or federal identification database.2 This Corrected Supplemental Report

incorporates the results of the revised matching process. While the revisions made here




1 My Supplemental and Reply Report dated August 15, 2014, had treated Texas driver

license and identification card records with numerical values in the “license_surrendered”
field as not valid for matching, based on the understanding that those cards were no
longer in the physical possession of the person to whom they were originally issued. The
amended deposition answers indicated that the “license_surrendered” field does not relate
to whether or not a Texas driver license or identification card had been surrendered to
DPS, as had been previously communicated to me based on DPS’s original written
deposition answers, but instead relates to out-of-state licenses. As a result, when I
conducted the matching process again for purposes of this Corrected Supplemental and
Reply Report, I did not exclude any DPS records from being matched based on the
content of the “license_surrendered” field.

2 There are 622,527 TEAM records (see Table V.3) that do not match to any valid record

in any applicable identification database. While none of these 622,527 TEAM records
matched to any valid ID record on any applicable database, a relatively small number
matched to DPS records that are both invalid for SB 14 purposes (because they are
expired for more than 60 days or marked in the “card status” field as surrendered, and as
such, not in the person’s possession) and marked as deceased. Subtracting such records
as deceased reduces the number to 608,470.


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change the total number of voters who did not match to any form of SB 14 identification,

none of my conclusions are changed from what I testified to at trial.



5. I analyzed rates of ID possession for registered voters by race in two different ways.

This is necessary because the TEAM voter registration database does not contain self-

reported information on the race of each registered voter. First, I conducted an ecological

regression analysis that relates rates of possession of acceptable SB 14 ID among

registered voters to the racial composition of Census areas. Second, I matched individual

voter records to data from a firm, Catalist, LLC, that uses a statistical model to predict the

race of individual registered voters.



6. Separate from the determination of who has acceptable SB 14 photo ID, I have also

been asked to examine historical rates of registration and voting among racial groups. I

did so in three ways: (i) using data from the Bureau of Census’s Current Population

Survey (CPS); (ii) by ecological regression analysis relating registration and voting rates

to the racial composition of Census areas; and (iii) by analysis of TEAM voter history

data combined with the Catalist classification of the race of voters.



7. In brief, I conclude that:

(a) There are 608,470 voters in Texas who do not possess acceptable SB 14 photo

identification, representing 4.5 percent of registered voters. That is, these are records on

TEAM that do not match to an identification database and for which there is no

indication in the DPS data that the individual is deceased. Moreover, approximately




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534,512 voters in Texas neither possess acceptable SB 14 photo ID nor qualify under SB

14 to apply for a disability-based exemption from showing ID at the polls.



(b) There is a racial disparity in the rates of possession of acceptable SB 14 photo ID

such that Black3 registered voters are approximately two to three times as likely as Anglo

registered voters to lack acceptable photo ID and that Hispanic registered voters are

approximately fifty percent to 100 percent more likely than Anglo registered voters to

lack acceptable SB 14 photo ID. (See, especially, Tables VI.1 and VI.2.)



(c) In recent elections examined, rates of both voter registration and voter turnout are

lower for Blacks and Hispanics in Texas than Anglos.



8. I have been asked to respond to the reports of Professors Hood and Milyo as they

concern the state of academic research on voter identification laws and my analysis of the

TEAM data.




II. Background and Qualifications



9. I am a professor of Government in the Department of Government at Harvard

University in Cambridge, MA. Formerly, I was an Assistant Professor at the University

of California, Los Angeles, and I was Professor of Political Science at the Massachusetts



3
    Throughout, Black refers to individuals who are Black non-Hispanic.


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Institute of Technology, where I held the Elting R. Morison Chair and served as

Associate Head of the Department of Political Science. I directed the Caltech/MIT

Voting Technology Project from its inception in 2000 through 2004, am the Principal

Investigator of the Cooperative Congressional Election Study, a survey research

consortium of over 250 faculty and student researchers at more than 50 universities, and

serve on the Board of Overseers of the American National Election Study. I am a

consultant to CBS News’ Election Night Decision Desk. I am a member of the American

Academy of Arts and Sciences (inducted in 2007).



10. I have worked as a consultant to the Brennan Center in the case of McConnell v.

FEC, 540 U.S. 93 (2003). I have testified before the U.S. Senate Committee on Rules,

the U.S. Senate Committee on Commerce, the U.S. House Committee on Science, Space,

and Technology, the U.S. House Committee on House Administration, and the

Congressional Black Caucus on matters of election administration in the United States.

I filed an amicus brief with Professors Nathaniel Persily and Charles Stewart on behalf of

neither party to the U.S. Supreme Court in the case of Northwest Austin Municipal Utility

District Number One v. Holder, 557 U.S. 193 (2009). I am consultant for the Rodriguez

plaintiffs in Perez v. Perry, currently before the U. S. District Court in the Western

District of Texas (No. 5:11-cv-00360), and the Gonzales intervenors in State of Texas v.

United States before the U.S. District Court in the District of Columbia (No. 1:11-cv-

01303); I consulted for the Department of Justice in State of Texas v. Holder, before the

U.S. District Court in the District of Columbia (No. 1:12-cv-00128); I consulted for the

Guy plaintiffs in Guy v. Miller in U.S. District Court for Nevada (No. 11-OC-00042-1B);




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I consulted for the Florida Democratic Party in In re Senate Joint Resolution of

Legislative Apportionment in the Florida Supreme Court (Nos. 2012-CA-412, 2012-CA-

490); I am consultant for the Romo plaintiffs in Romo v. Detzner in the Circuit Court of

the Second Judicial Circuit in Florida (No. 2012 CA 412); I am consultant for the San

Antonio Water District intervenor in LULAC v. Edwards Aquifer Authority in the U.S.

District Court for the Western District of Texas, San Antonio Division (No. 5:12cv620-

OLG,); I am consultant for the Harris plaintiffs in Harris v. McCrory in the U. S. District

Court for the Middle District of North Carolina (No. 1:2013cv00949).



11. My areas of expertise include American government, with particular expertise in

electoral politics, representation, and public opinion, as well as statistical methods in

social sciences. I have authored numerous scholarly works on voting behavior and

elections, the application of statistical methods in social sciences, legislative politics and

representation, and distributive politics. This scholarship includes articles in such

academic journals as the Journal of the Royal Statistical Society, the American Political

Science Review, the American Economic Review, the American Journal of Political

Science, Legislative Studies Quarterly, the Quarterly Journal of Political Science,

Electoral Studies, and Political Analysis. I have published articles on issues of election

law in the Harvard Law Review, Texas Law Review, Columbia Law Review, New York

University Annual Survey of Law, and the Election Law Journal, for which I am a

member of the editorial board. I have coauthored three scholarly books on electoral

politics in the United States, The End of Inequality: Baker v. Carr and the

Transformation of American Politics, Going Negative: How Political Advertising




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Shrinks and Polarizes the Electorate, and The Media Game: American Politics in the

Media Age. I am coauthor with Ted Lowi, Ben Ginsberg, and Ken Shepsle of American

Government: Power and Purpose. My curriculum vita with publications list is attached to

this report.



12. As the Principal Investigator of the Cooperative Congressional Election Study and

the Harvard Election Data Archive, I have extensive experience with database

management, record linkage and database matching, data validation, and integration of

Census and electoral data. I have published articles in refereed journals on matching

survey data to voter files, on validation of voting records, and on statistical techniques for

analyzing aggregate election and population data.



13. I have been hired by the Department of Justice in this case. I am retained for a rate

of $400 per hour, which is my standard consulting rate.



III. Summary of Analysis and Findings



14. I have been asked to determine the number of Texas registered voters who lack

acceptable SB 14 photo ID and to determine whether there are disparities between the

percentages of Anglo registered voters and of Black or Hispanic registered voters who

possess such identification and those who neither possess such identification nor qualify

for SB 14’s disability exemption from providing identification at the polls.




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 15. In order to do this, I conducted database matching and record linkage of the Texas

 Election Administration Management system (TEAM) database to relevant State of

 Texas and Federal databases. SB 14 specifies 7 categories of state and Federal

 identification that may be used when voting.4 In addition, SB 14 allows persons with

 certain Federally-documented disabilities to apply for an exemption from showing

 identification at the polls.5 The TEAM database records which voters have applied for

 and received this disability exemption. Using standard methods for linking databases, I

 matched records in the TEAM voter registration database to records of holders of Texas-

 issued forms of SB 14 ID contained in the Texas Department of Public Safety (DPS)

 databases. Also, I developed protocols for matching the TEAM voter registration

 database to databases of the Federal agencies that issue allowable forms of SB 14

 identification, as well as the databases of the Federal agencies that make relevant

 disability determinations.6



 4
   Specifically, SB 14 requires that all in-person voters present one of the following in
 order to cast a regular ballot: (1) a Texas Driver License (DL); (2) a Texas Personal
 Identification Card (PID); (3) a Texas concealed handgun license (CHL); (4) a Texas
 Election Identification Certificate (EIC); (5) a U.S. military identification card with
 photo; (6) a U.S. citizenship certification (defined to include certificates of naturalization)
 with photo; or (7) a U.S. passport. SB 14 requires that IDs with an expiration date be
 current or expired for less than 60 days.
 5
   To apply for the disability exemption, voters must submit written documentation stating
 that they do not have an acceptable SB 14 photo ID and showing either that they have
 been determined to be disabled by the Social Security Administration, or that they have a
 disability rating from the U.S. Department of Veteran Affairs of at least 50%. As of
 January 15, 2014, only 18 Texas voters had been approved for a disability exemption
 from showing acceptable SB 14 ID.
 6
   The Federal agencies that issue allowable SB 14 photo ID and which matched their
 databases to TEAM are: the Department of Defense (DOD), Department of State (DOS),
 Department of Veterans Affairs (VA), and the United States Citizenship and Immigration
 Services (USCIS). The Federal agencies that make the relevant disability determinations
 are the Social Security Administration (SSA) and the VA.



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 16. The matching algorithm produces a NO MATCH list, which consists of all records

 on TEAM: a) for which no valid matching record could be found in any identification

 database; b) which are not reported as deceased on any matching record in a DPS

 database (including invalid for SB 14-purposes expired DPS records); and c) which are

 not recorded in TEAM as having received a disability exemption.7 Each record on this

 list is treated as an individual registered voter who lacks acceptable SB 14 photo ID.

 The algorithm also produces a MATCH list, which consists of all records on TEAM for

 which a valid matching record could be found on an identification database



 17. The matching algorithm also produces a NO MATCH/NOT EXEMPTION

 ELIGIBLE list, which consists of all records in TEAM: a) for which no valid matching

 record could be found in any state or Federal identification database; b) which are not

 reported as deceased on any matching record in a DPS database (including invalid for

 SB 14-purposes expired DPS records); c) which are not recorded in TEAM as having

 received a disability exemption; and d) for which no matching record in the relevant

 Federal disability databases could be found. Each record on this list is treated as an

 individual registered voter who lacks acceptable SB 14 photo ID and does not qualify for

 SB 14’s disability exemption.



 18. Both the NO MATCH and NO MATCH/NOT EXEMPTION ELIGIBLE lists are

 highly relevant to the question of the burden imposed by SB 14 on some Texas voters.

 7
  Only 18 registered voters in TEAM were marked as having already received the
 disability exemption.


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 Voters who qualified to apply for the disability exemption will not be able to avail

 themselves of that exemption on Election Day, unless they have taken steps to apply for

 and prove they qualify for the exemption.



 19. The TEAM data extracted on January 15, 2014, contains 13,564,416 records. Of the

 13,564,416 records, 622,527 were not matched to any record in a State of Texas or

 Federal identification database or had not already received the disability exemption.

 Accounting for deceased individuals as indicated by DPS, the total number of records on

 TEAM is 13,487,594, and the NO MATCH list contains 608,470 voter records. (See

 Tables V.3.A and V.3.B)



 20. Of the 13,564,416 TEAM records extracted on January 15, 2014, 548,387 were not

 matched to any record in a State of Texas or Federal identification or disability database

 or had not already received the disability exemption.8 Accounting for deceased

 individuals as indicated by DPS, the NO MATCH/DISABILITY EXEMPTION

 ELIGIBLE list contains 534,512 voter records. (See Tables V.4.A and V.4.B)



 21. I performed two analyses of racial disparities in the incidence of inclusion on the NO

 MATCH and NO MATCH/NOT EXEMPTION ELIGIBLE lists. First, the likelihood

 that a registered voter is on the NO MATCH list or the NO MATCH/NOT EXEMPTION

 ELIGIBLE is correlated with racial data from the Census Bureau, using ecological

 regression. Ecological regression is widely used to measure the voting patterns of racial




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 groups in Voting Rights Act cases. (Thornburg v. Gingles, 478 US 30 (1986).) Second,

 the likelihood that an individual record in TEAM is on either the NO MATCH list or the

 NO MATCH/NOT EXEMPTION ELIGIBLE list is related to the individual’s race, using

 the classification of race of registered voters provided by Catalist, LLC, a data utility

 company that provides election data.



 22. These two forms of analysis for the NO MATCH list yield very similar results and

 show that there are statistically significant9 disparities between the rate at which Anglos

 in TEAM are matched to identification databases and disability data records and the rates

 at which Blacks and Hispanics are matched. Analysis of the NO MATCH/NOT

 EXEMPTION ELIGIBLE list shows that the racial disparities found as to the NO

 MATCH list are not alleviated upon considering eligibility to apply for the disability

 exemption.



 23. Ecological regression based on the NO MATCH list estimates that 2.0 percent of

 registered Anglos do not match to a corresponding record in a state or federal

 identification database. By comparison, an estimated 8.1 percent of registered Blacks

 and 5.9 percent of registered Hispanics do not match. Stated differently, the rate of NO

 MATCH for black voters when measured through ecological regression is 305% higher




 9
   Throughout I report as “statistically significant differences” results for which a
 statistical test yields a probability of less than 1 percent that the observed difference arose
 by chance (i.e., that the true difference is 0). This corresponds to the observation that the
 hypothesized value of 0 is outside of the 99 percent confidence interval for the observed
 difference. In other words, the probability of observing a difference this large by chance
 is less than 1 percent.


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 than the rate of NO MATCH for Anglo voters. The rate of NO MATCH for Hispanic

 voters is 195% higher than for Anglo voters. (See Table VI.1.)



 24. Analysis of the NO MATCH list using the Catalist racial classification estimates

 shows that 3.6 percent of registered Anglos do not match to a corresponding record in a

 state or federal identification database. By comparison, an estimated 7.5 percent of

 registered Blacks and 5.7 percent of registered Hispanics do not match. Using the

 Catalist estimates, the rate of NO MATCH for black voters is 108% higher than the rate

 of NO MATCH for Anglo voters. The rate of NO MATCH for Hispanic voters is 58%

 higher than for Anglo voters. (See Table VI.2.)



 25. Analysis of the NO MATCH/NOT EXEMPTION ELIGIBLE list using ecological

 regression and Census racial data shows that 1.8 percent of registered Anglos do not

 match to a corresponding record in a state or federal identification database, nor in a

 Federal disability database. By comparison, an estimated 6.4 percent of registered Blacks

 and 5.3 percent of registered Hispanics do not match in the relevant databases. (See Table

 VI.3.A, first column.) Analysis of the NO MATCH/NOT EXEMPTION ELIGIBLE list

 using the Catalist racial classification estimates indicates that 3.2 percent of registered

 Anglos do not match to a corresponding record in a state or federal identification

 database, nor in a Federal disability database. By comparison, an estimated 6.3 percent

 of registered Blacks and 5.2 percent of registered Hispanics do not match in the relevant

 databases. (See Table VI.3.B.)




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 26. Further analyses validate these findings and test the robustness of the results to

 alternative specifications of the pool of registered voters and the classification of

 individuals’ races. The pattern of results remains consistent across these alternate

 analyses, with each analysis showing statistically significant racial disparities in rates of

 matching of records in TEAM to records in acceptable SB 14 photo ID databases

 between Anglo registered voters and Black and Hispanic registered voters. (See Section

 VII.)



 27. I also examine voting and registration patterns of racial groups in the State of Texas

 from 2006 to 2012 to determine whether racial differences in participation exist currently

 or historically. I examine three data sets: TEAM data merged with Catalist racial

 classifications, the Current Population Survey (CPS) reports on voting and registration

 rates, and aggregate data on registration and voting and racial composition of

 populations. All three data sets show that Anglos in the State of Texas register and vote

 at higher rates than minorities. (See Section VIII.)




 IV. Data and Sources



 A. Terminology



 28.     TEAM Database. The official list of registered voters in the State of Texas,

 maintained by the Texas Secretary of State. The Texas Election Administration




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 Management (TEAM) System includes registered voter information such as name,

 address, date of birth, gender, and past elections in which the person voted.

 Identification Database. A state or Federal list of individuals with a given form of

 identification, such as a Driver License or Passport, which includes names, addresses, and

 other information about the individuals.

 Disability Database. A Federal list of individuals with a given disability status, which

 includes names, addresses, and other information about the individuals.

 Record. A row in a database containing the information in that database for a specific

 person. Also called a case.

 Field. A column in a database corresponding to information about each of the records in

 the database, such as first names or dates of birth.

 Identifier. A field or constructed combination of fields for a particular record in a

 database that can be used to identify another record likely to be the same person in a

 different database.

 Unique Identifier. An identifier that is unique to a given individual.

 Record linkage. A process whereby a given record in one database is matched to one or

 more records in other databases using identifiers for individual records. Also called

 matching.

 Match. A record in a database found to have at least one matching identifier in a

 separate database.

 No Match. A record for which no match is found in other databases.

 Sweep. A search conducted of all records in one database using a specified identifier for

 matching records in another database.




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 MATCH List. Records for all currently registered voters in TEAM for which at least one

 valid matching record is found in an identification database on at least one sweep, and

 which are not matched to any deceased DPS record.

 NO MATCH List. Records for all currently registered voters in TEAM which do not list

 the voter as having already applied for and received the disability exemption and for

 which no valid matching record is found in any identification database on any sweep, and

 which are not matched to any deceased DPS record.

 NO MATCH/NOT EXEMPTION ELIGIBLE List. Records for all currently registered

 voters in TEAM which do not list the voter as having already applied for and received the

 disability exemption and for which no valid matching record is found in any

 identification or disability database on any sweep, and which are not matched to any

 deceased DPS record.

 NO MATCH/NOT EXEMPTION ELIGIBLE/NOT AGE VOTE-BY-MAIL ELIGIBLE

 List. Records for all currently registered voters in TEAM which do not list the voter as

 having already applied for and received the disability exemption, for which no valid

 matching record is found in any identification or disability database on any sweep, and

 which do not establish that the voter is qualified to vote by mail on account of age, and

 which are not matched to any deceased DPS record.



 B. Data Used in the Matching Process



 State of Texas Databases




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 29. Counsel for the Department of Justice provided me with voter registration and

 identification databases from the State of Texas.



 30. Texas Voter Registration Data: Texas voter registration records were extracted from

 the TEAM system on January 15, 2014. That date serves as the date of the election for

 purposes of this analysis. Any form of acceptable SB 14 photo ID that is unexpired on

 that date or expired no earlier than sixty days prior to that date is deemed valid under SB

 14 for purposes of this analysis.



 31. State of Texas Photo ID Data: Records were extracted from the Texas Department

 of Public Safety (DPS) databases for Driver Licenses (DL), Personal State Identification

 Cards (PID), Licenses to Carry Concealed Handguns (CHL), and Election Identification

 Certificates (EIC). The DPS DL, PID, CHL, and EIC databases also include a field that

 indicates whether an individual may be deceased. The algorithm matches TEAM records

 to identification records for each specific form of ID separately.   The DPS data

 addressed in this report includes records that were provided in February 2014, as well as

 records which I received in late July, 2014, but which I should have been provided in

 February. It is my understanding that these records were not initially extracted because

 of a coding error.



 Federal Databases




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 32. I created a version of the TEAM database with identifiers used in matching already

 formatted to facilitate matching to Federal databases. I developed a step-by-step

 explanation of the algorithm, including data preparation steps, and developed model

 computer code in STATA and SQL to guide the matches of the Federal databases.

 Counsel for the United States conveyed these files to staff at the United States

 Citizenship and Immigration Service, the United States Department of Defense, the

 United States Department of State, the United States Department of Veterans Affairs, and

 the Social Security Administration. I had no direct access to Federal databases.10



 C. Databases Used in Data Analyses



 33. I analyze individual and aggregate-level data to estimate the relationship between

 race and probability of possession of ID accepted under SB 14. Individual-level

 analyses rely on TEAM data matched to identification and disability databases and

 Catalist racial classifications.



 34. Aggregate-level analyses in Section VI use the sum of the number of Matched and

 Not Matched voters in each Census Block Group (BG). I calculate the percent of

 registered voters in each BG that are on the NO MATCH list. Block Group is the lowest

 level of aggregation for which Citizen Voting Age Population (CVAP) is released by the

 Census. I correlated the percent NO MATCH with the percent of each racial group that



 10
   Staff at each agency involved in the matching process completed a declaration
 documenting the steps that they took in completing the matches. Those declarations are
 provided as exhibits in the Appendix.


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 are adult citizens (CVAP) or are adults (VAP) at the BG level. The correlation allows me

 to estimate the share of the CVAP or VAP for each racial group that lacks acceptable SB

 14 photo ID. The correlations and ecological regressions reported in Section VI are of

 the NO MATCH and MATCH data aggregated to the BG level for the CVAP.11 (See

 Tables VI.1, VI.3.A, VI.4.A.) Similar results hold for VAP, but CVAP is a closer

 approximation to the eligible electorate. I also tested the robustness of the analysis at the

 Census Tract level (a higher level of aggregation than BG), and found no substantive or

 statistical difference in the results. I report results at the BG level.



 35. Aggregate analyses in Section VII on rates of turnout and registration are at the

 Voting Tabulation District (VTD) level as that is the level at which registration and

 voting statistics are reported. These analyses use Voting Age Population (VAP) from

 the Census Enumeration and Citizen Voting Age Population (CVAP) from ACS.12



 Voting and Registration Data



 36. Analyses of historical voting and registration patterns use aggregate data from the

 Texas Legislative Council, a nonpartisan State legislative agency. Voting and

 registration data at the VTD level come from the website of the Texas Legislative




 11
    In the case of VAP, I used the Census figures for the VAP for each group at the BG
 level. In the case of CVAP, I use ACS data aggregated to the BG.
 12
    For Block Groups that contain multiple VTDs, I apportion the CVAP of a racial group
 in a Block Group based on the percent of the VAP of that group in a Block Group that
 resides in each VTD.


                                                18
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 Council.13 Individual data on voter participation history in particular elections is also

 used from the TEAM database.



 Census Data



 37. The Population and Voting Age Population in Voting Tabulation Districts (VTDs)

 are collected by the 2010 Census Enumeration and come from the website of the Texas

 Legislative Council.14



 38. Aggregate data on the Citizen Voting Age Population (CVAP), at the Census Block

 Group and VTD level, come from the five-year average of the American Community

 Survey (ACS), 2008-2012.15



 39. I analyze Census data on the racial composition of the electorate and the rate with

 which registered voters are deemed to possess acceptable SB 14 identification. I perform

 Ecological Regression at the Block Group (BG) level to measure the rate of NO MATCH

 of each racial group.



 40. The Census Bureau conducts the Voting and Registration supplemental to the CPS

 each November following federal elections. I examine the 2006, 2008, 2010, and 2012

 CPS.16



 13
    ftp://ftpgis1.tlc.state.tx.us/elections/
 14
    ftp://ftpgis1.tlc.state.tx.us/2011_Redistricting_Data/VTDs/
 15
    See http://www.census.gov/acs/www/data documentation/2012 release/


                                              19
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 Catalist Database



 41. The United States contracted with Catalist, LLC, to obtain additional data on voter

 registration records in the State of Texas. I use Catalist data (i) to test the robustness and

 validity of findings, (ii) to obtain estimated classifications of the race of individuals

 (estimates that are based in part on local area Census demographics and frequencies of

 names), (iii) to examine voting history of individuals, and (iv) to obtain geocoding of

 each registration record and Catalist deadwood, deceased, and NCOA information.



 42. Catalist maintains data on voter registrations and vote history. Catalist retains the

 TEAM VUID, which permits linkage between the Catalist data and the TEAM data.



 43. Catalist augments official voter registration data with indicators regarding whether a

 voter has moved as reported through the National Change of Address (NCOA) data from

 the United States Postal Service, information on whether a voter is deceased using data

 from the Social Security Administration and private vendors, and information identifying

 potentially obsolete records (or deadwood) based on factors including participation in

 past elections. To analyze the validity and robustness of findings, I use the Catalist flags

 for NCOA, deceased, and deadwood records to construct subsets of the pool of

 registration records.




 16
      http://www.census.gov/hhes/www/socdemo/voting/publications/p20/index.html


                                               20
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 44. Catalist provides a classification of the race of each individual in the TEAM

 database and a score for the confidence in that classification. Catalist’s race

 classification is based on the frequency of specific last names in the population and the

 frequency of racial groups in local areas (Census block groups), and is a refinement on

 the area-based estimates underpinning the ecological regression analysis frequently used

 in Voting Rights Act cases.



 45. Catalist data are widely used in academic research on registration and voting and

 have been vetted for publication in peer-reviewed journals. Catalist data on

 demographic characteristics of the electorate, including age, gender, and race, have been

 vetted and published in peer-reviewed journals.17 Academic researchers use the Catalist

 database to identify the population of registered voters in the US and to conduct random

 sample surveys of the population of registered voters and experimental research on voter

 participation.18



 17
    See for example, Ansolabehere, Stephen, and Eitan Hersh. "Validation: What big data
 reveal about survey misreporting and the real electorate." Political Analysis (2012):
 mps023. Ansolabehere, Stephen, Eitan Hersh, Kenneth Shepsle. "Movers, Stayers, and
 Registration: Why Age is Correlated with Registration in the US." Quarterly Journal of
 Political Science 7, no. 4 (2012): 333-363.Ansolabehere, Stephen, and Eitan Hersh.
 "Gender, Race, Age and Voting: A Research Note." Politics and Governance 1, no. 2
 (2013): 132-137. Garcia-Castañon, Marcela, Alison D. Rank, and Matt A. Barreto.
 "Plugged in or tuned out? Youth, race, and Internet usage in the 2008 election." Journal
 of Political Marketing 10, no. 1-2 (2011): 115-138.
 18
    See, for example, Nickerson, David W., and Todd Rogers. "Political Campaigns and
 Big Data." The Journal of Economic Perspectives 28, no. 2 (2014): 51-73. Dale, Allison,
 and Aaron Strauss. "Don't forget to vote: Text message reminders as a mobilization tool."
 American Journal of Political Science 53, no. 4 (2009): 787-804. Bennion, Elizabeth A.,
 and David W. Nickerson. "The Cost of Convenience An Experiment Showing E-Mail
 Outreach Decreases Voter Registration." Political Research Quarterly 64, no. 4 (2011):
 858-869. Ansolabehere, Stephen, and Eitan Hersh. "Validation: What big data reveal
 about survey misreporting and the real electorate." Political Analysis (2012).


                                              21
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 46. I verify the validity of the inferences for the full Catalist analysis by examining the

 subset of records in Catalist with very high confidence in the racial classification.

 Catalist has very high confidence in areas where there is a fairly homogeneous population

 and for individuals with sufficiently distinctive names.



 V. Matching Process



 A. Description of the Matching Process



 47. The matching process conducts record linkage for individual records in TEAM to

 any record in each database corresponding to a form of identification accepted under SB

 14 or in a database reflecting those eligible to apply for the disability exemption. The

 matching algorithm proceeds in four parts.

        Database Preparation. Databases are prepared and standardized.

        Creation of Identifiers. Identifier values used to link records in one database to

        records in another database are constructed by combining multiple individual

        fields.

        Record Linkage and Matching. One-to-many matches are conducted between the

        databases. That is, the algorithm matches each unique identifier on the TEAM

        database to all records on the identification database that have the corresponding

        value of the identifier.




                                              22
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        Data Gathering. Appended to the TEAM data are fields indicating every match

        found of a record on the TEAM database to a record on a state or Federal

        identification database or Federal disability databases.



 48. Each of the four parts is divided into multiple stages, which are in turn divided into

 concrete steps. Detailed procedures for the implementation of the algorithm were

 prepared and presented to all parties in the litigation and to the Federal agencies. These

 memorandums provide detailed, step-by-step documentation of the matching process.

 Rather than reproduce the detailed steps here, the memorandums presented to all parties

 and the Federal agencies are appended to this report in the appendix. This section

 describes the stages of the Matching Process at a general level.



 49. The result of this methodology is to produce a MATCH list, a NO MATCH list, and

 a NO MATCH/NOT EXEMPTION ELIGIBLE list, as described above.



 B. Features of the Matching Algorithm



 50. The first phase of the matching algorithm, Database Preparation, standardizes the

 coding of database fields to facilitate matching. Different databases store the fields in

 different ways. For example, Gender is coded 1 or 0 in some databases and M or F in

 others. The database preparation in the algorithm standardizes the coding of names by

 removing spaces, hyphens, and other characters; standardizes dates of birth and gender

 codes, and identifies invalid or missing values (such as 111111111 for Social Security




                                              23
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 Numbers). Prior research has shown that standardization of fields, removal of duplicate

 cases, and definition of missing or invalid values in each field greatly improves the

 quality of matching.19



 51. The second part of the algorithm develops multiple identifiers for purposes of record

 linkage. This general approach is widely used in the field of record linkage and database

 matching, especially in health research and marketing, and has been determined by past

 studies to yield a very high rate of correct matches.20 The algorithm builds identifiers by

 combining fields related to Address, Date of Birth, Gender, Name, Social Security

 Number, and Texas Driver License Number.



 52. In total 13 different identifiers were constructed in the TEAM database and in the

 corresponding State and Federal databases.21 Each identifier corresponds to a particular

 combination of fields. For example, Combination A consists of First Name, Last Name,

 19
    William E. Winkler, “Methods for Evaluating and Creating Data Quality,” Information
 Systems 29 (October, 2004), 531-550.
 http://www.sciencedirect.com/science/article/pii/S030643790400002X
 Max G. Arellano and Gerald I. Weber, “Issues in Identification and Linkage of Patient
 Records Across an Integrated Delivery System,” Journal of Health Care Information 12,
 no. 3 (1998): 43-52
 http://sce.umkc.edu/~leeyu/Mahi/medical-data5.pdf
 20
    See Simon, Michael S., Beth A. Mueller, Dennis Deapen, and Glenn Copeland. "A
 comparison of record linkage yield for health research using different variable sets."
 Breast cancer research and treatment 89, no. 2 (2005): 107-110. Sweeney, Latanya,
 “Computational Disclosure Control for Medical Microdata: The Datafly System, Record
 Linkage Techniques 1997, Chaper 11. Pp. 442-453. Sweeney, Latanya, Matching
 Known Patients to Health Records in Washington State Data. Harvard University. Data
 Privacy Lab. 1089-1. June 2013.
 21
    For the Department of State matches of passport holders, additional identifiers were
 developed to address specific features of the way that the Passport database stores name
 information. Those additional identifiers are discussed in a declaration from DOS,
 which is attached in the appendix.


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 Date of Birth, Gender, Street Number, and 5-digit ZIP Code. A sample version of

 Combination A for a man named John Smith, born on January 1, 1960, and living at 100

 Main Street in the ZIP Code 78610 would be JOHNSMITH01011960110078600. A

 chart of the identifiers created for matching is provided below in Table V.1. Appendix

 Tables A.V.1-A.V.2 provide statistics on the completeness and uniqueness of

 combinations of fields.22




 22
  These tables were not revised after receiving the 3.1 million supplemental DPS records.
 They correspond to the data extracted on January 15, 2014.


                                            25
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 Table V.1. Combinations of Fields Used as Matching Identifiers

 Combination
               PRIMARY MATCHES
 Code

               First Name + Last Name + Gender + DOB +
 A
               Residential ZIP + Residential Street Number

               Last Name + Gender + DOB + Residential ZIP + Residential Street
 B
               Number

 C             Gender + DOB + Residential ZIP + Residential Street Number

               First Name + Last Name + Date of Birth +
 D
               Residential ZIP + Residential Street Number

               First Name + Last Name + Gender +
 E
               Residential ZIP + Residential Street Number

 F             First Name + Last Name + Gender + DOB

 M             Texas Driver License Number (where available)



               SECONDARY MATCHES

 G             First Name + Middle Initial + Last Name + DOB

 H             Last 4-Digit SSN + DOB + Residential ZIP

 I             Last 4-Digit SSN + First Name + Last Name + DOB

 K             First Name + Last Name 1 + Middle Initial + DOB

 L             First Name + Last Name 2 + Middle Initial + DOB

 SSN           9-Digit Social Security Number



                                          26
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 53. The third stage of the process, the Record Linkage and Matching phase, conducts

 one-to-many matches23 and performs multiple sweeps to guard against false negatives

 (non-matches that should be matched). An example of false negatives that this approach

 guards against is a typographical error in the spelling of a person’s name as recorded on

 TEAM but not in the DPS driver license database. Such a typo would create an

 inconsistency between TEAM and DPS if matches were conducted only on identifiers

 that included name. In addition to searching on identifiers that contain name fields the

 algorithm searches on identifiers constructed from combinations that do not include name

 elements, such as Date of Birth, Gender, Address, and Social Security Number. The

 algorithm will match the record on the identifiers that do not contain each of these

 categories of fields, thus avoiding non-matches due to typographical errors, nicknames,

 missing fields, and other inconsistencies between databases. A record is determined to

 have found a match if a given identifier in TEAM is identical to at least one

 corresponding identifier in an identification database. The frequencies of matches of

 individual records in TEAM to specific identifiers in each of the state and federal

 23
    As used here, a “one-to-many” match means that for each TEAM record, a match will
 only be attempted for a particular identifier when that identifier is unique to a single
 TEAM record. However, that unique identifier will be deemed to have matched to any
 identical identifier in an identification or disability database, even if the identifier is not
 unique on the identification or disability database. As an example, consider a simplified
 identifier not used here: First Name + Last Name + Date of Birth. If there are two people
 named JOHN SMITH with a birth date of January 1, 1960 in TEAM, no match is
 attempted on First Name + Last Name + Date of Birth because the TEAM identifier is
 not unique. This guards against false positives. On the other hand, if there is only one
 JOHN SMITH in TEAM born on January 1, 1960, and there are two JOHN SMITHs
 born on January 1, 1960 in the DPS driver license database, the match will be attempted,
 and the TEAM record is considered to have matched. All that matters is that the
 registered voter John Smith is deemed to hold a driver license—there is no need to
 distinguish between the two DPS records.


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 identification and disability databases are presented in the appendix. See Appendix

 Tables A.V.3 to A.V.5.



 54. As shown in the chart below, the algorithm conducts two sorts of sweeps through the

 data to find matching records. The Primary Sweeps match on Combinations A-F and M,

 and are run on all TEAM records. The Secondary Sweeps are conducted on

 Combinations G – L for the TEAM records not matched in the Primary Sweeps. For

 Federal databases, the Primary Sweeps are run against all qualifying Federal records with

 Texas addresses, while the Secondary Sweeps are run both against Texas-only records, as

 well as against the nationwide universe of the relevant Federal dataset.




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                                           Matching Combinations
Texas DPS        Primary Sweeps            Combination A: First name + Last name +
Databases        (All TEAM records)        Gender + DOB + Street number + ZIP
                                           Combination B: Last name + Gender + DOB +
                                           Street number + ZIP
                                           Combination C: Gender + DOB+ Street number
                                           + ZIP
                                           Combination D: First name + Last name +
                                           Street number + ZIP
                                           Combination E: First name + Last name +
                                           Gender + Street number + ZIP
                                           Combination F: First name + Last name + DOB
                                           + Gender
                                           Combination M: Texas Driver License Number
                 Secondary Sweeps          Combination G: First name + Last name +
                 (TEAM records with        Middle Initial + DOB
                 no primary match)         Combination H: DOB + ZIP + SSN4
                                           Combination I: First name + Last name + DOB
                                           + SSN4
                                           Combination K: First name + Last name 1 +
                                           Middle Initial + DOB
                                           Combination L: First name + Last name 2 +
                                           Middle Initial + DOB24
                                                      SSN: 9-digit Social Security Number
Federal          Primary Sweeps            Same as primary sweeps for DPS databases,
Identification   (All TEAM records         except for Texas Driver License Number
and Disability   against Federal records   (Combinations A-F)
Databases        with a Texas address)
                 Secondary Sweeps          Same as secondary sweeps for DPS databases
                 (TEAM records with        (Combinations G-L and SSN)
                 no primary match
                 against Federal records
                 with a Texas address)
                 Nationwide Sweeps         All sweeps without address criteria
                 (TEAM records with        (Combinations F, G, I, K, L, and SSN)
                 no primary or
                 secondary match
                 against nationwide
                 Federal records)


 24
    “Last name 1” is the first half of a hyphenated last name, and “Last name 2” is the
 second half of a hyphenated last name. Combinations K and L in TEAM are each
 matched against Combination G, Combination K, and Combination L in the identification
 and disability databases for a total of six matching sweeps.


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 55. In the last phase of the matching process, the Data Gathering phase, the results of all

 matching sweeps are recorded for each individual TEAM record. This stage also appends

 indicators of deceased records from the Texas DPS data to TEAM. In the analysis

 performed after receiving the supplemental 3.1 million records, I proceeded as follows.

 For the complete DPS list of drivers license holders and state ID holders (including those

 both from the initial production and the supplemental production), I subset the complete

 list to anyone with a deceased flag in the database. This subset consists of all records

 with deceased flags, including records that are expired or that have card statuses

 indicating that the license has been surrendered and, thus, cannot be used for voting. I

 then performed the same matching algorithm between this list and TEAM as I did for IDs

 in DPS. Similarly I used the same process to match deceased records from the CHL list

 to TEAM. Any TEAM record that matched on any indicator to a deceased flag in DPS or

 CHL was treated as deceased. These records are not treated as registered voters in

 subsequent analysis. In my initial report, I only treated as deceased TEAM records that

 matched to a valid DPS record that was marked as deceased. This methodology could

 only remove deceased voters from the MATCH List. The additional step undertaken

 here—examining the entire universe of DPS records (both valid and invalid for SB 14

 purposes) to locate deceased records—uses all possible available information from DPS

 to identify likely deceased records on TEAM so that they can be removed from either the

 MATCH List or the NO MATCH List.




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 56. The algorithm developed for DOJ in the present case goes beyond the matching

 algorithm developed for the expedited Section 5 proceedings in State of Texas v. Holder

 in which I also testified on behalf of the United States.25 First, the TEAM database is

 now matched to all relevant state and federal databases. In the section 5 proceeding,

 time constraints prevented an assessment of federal identification and disability data.

 Second, the algorithm ensures that persons that DPS considers to be dead are not

 included on the NO MATCH list. Instead, deceased voters are identified after matching

 has occurred.26 Third, by using multiple identifiers, the algorithm is developed to be

 sensitive to variations in names, such as nicknames and compound names, to

 typographical errors, and to missing information. Fourth, by matching on identifiers

 constructed from a larger number of categories of fields (three or four rather than two),

 the algorithm is more precise in determining which records link and more exhaustive in

 the search for linkages.



 57. The data analysis presented in the Validation section of this report examines the

 robustness of the results to alternative racial classifications.




 25
    The Court in Texas v. Holder chose not to rely on any of the expert testimony
 presented. 888 F. Supp. 2d 113, 134-138 (D.D.C. 2012).
 26
    Where a TEAM record has matched to a DPS record that the State of Texas has
 marked as deceased, recording this information allows matched records for dead people
 to be excluded from further analysis of the population of voters actually affected by SB
 14’s requirements.


                                                31
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 C. MATCH , NO MATCH and NO MATCH/NOT EXEMPTION ELIGIBLE Lists

 Match Rates

 58. The implementation of the algorithm developed for the United States in this case

 matched the entire TEAM database to 10 different state and federal databases. Table

 V.2 below lists the number of records in TEAM that matched to each state or Federal

 database using that algorithm, as well as the percent of TEAM records overall and in each

 racial group that match to each identification or disability database. (Note: This table

 corresponds to all matched TEAM records, before removal of TEAM records indicated as

 deceased by DPS, and shows the total rate of matching between TEAM and each form of

 identification and database.)



 59. The most commonly held form of identification is a State of Texas Driver License,

 followed by a United States Passport. Just over 87.5 percent of records in TEAM

 matched to the DPS Driver License list, while 42.3 percent of records in TEAM matched

 to the DOS passport database. The next most common form of ID is a DPS Personal (or

 State) ID, held by 9.4 percent of those in TEAM.



 60. Table V.2 shows that the rates with which records match to the databases varies with

 race. The percentage of records on TEAM matched to Driver Licenses and Passports is

 much higher for Anglos than for Blacks and Hispanics. 91.3 percent of Anglos on

 TEAM match to a record on the DPS Driver License database, compared with 78.1

 percent for Blacks and 82.2 percent for Hispanics. 45.5 percent Anglos on TEAM match




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 to a record on the DOS passport database, compared with 24.7 percent for Blacks and

 37.7 percent for Hispanics.


 Table V.2. Number of Matches of TEAM Records to State and Federal Databases
 Overall and By Racial Group, using Catalist Racial Estimates
 (Percent of TEAM Records that Match to a Given ID or Disability Database)

 Database       Race

 State of
 Texas
                White          Black       Hispanic       Other          All
 ID
 Databases

 Driver         7,567,441      1,343,250   2,511,871      448,042        11,872,604
 License        (91.3%)        (78.1%)     (82.2%)        (90.9%)        (87.5%)
                425,399        315,682     499,103        29,429         1,269,613
 Personal ID
                (5.1%)         (18.4%)     (16.3%)        (5.1%)         (9.4 %)
 Concealed
                588,087        57,129      72,953         14,839         733,008
 Handgun
                (7.1%)         (3.3%)      (2.4%)         (3.0%)         (5.4%)
 License
 EIC            69             43          51             0              163

 Federal
 ID
 Databases

                3,776,207      424,682     1,151,608      378,666        5,731,163
 DOS
                (45.5%)        (24.7%)     (37.7%)        (76.8%)        (42.3%)
                427,191        81,688      116,460        13,015         638,354
 DOD
                (5.2%)         (4.8%)      (3.8%)         (2.6%)         (4.7%)
                106,051        45,005      373,576        210,454        735,086
 USCIS
                (1.3%)         (2.6%)      (12.2%)        (42.7%)        (5.4%)
                186,695        49,179      57,635         2,496          296,005
 VHA (VIC)
                (2.3%)         (2.9%)      (1.9%)         (0.5%)         (2.2%)

 Federal
 Disability
 Databases

 SSA:           419,065        167,980     202,368        14,925         804,338
 Disability     (5.1%)         (9.8%)      (6.6%)         (3.0%)         (5.9%)
 VBA:           118,883        31,952      35,743         1,938          188,516
 Disability     (1.4%)         (1.9%)      (1.2%)         (0.4%)         (1.4%)


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 61. The rate at which records on TEAM match to DPS Personal ID or USCIS databases

 is higher for minorities than for Anglos. Of Anglos on TEAM, 5.1 percent match to

 records on the DPS Personal ID database and 1.3 percent match to the USCIS database of

 holders of certificates of citizenship and naturalization. Of Blacks on TEAM, 18.4

 percent match to the Personal ID database and 2.6 percent match to the USCIS database.

 Of Hispanics on TEAM, 16.3 percent match to the Personal ID database and 12.2 percent

 match to the USCIS databases. However, both the DPS Personal ID and USCIS

 Certificates of Citizenship and Naturalization are much less commonly held than Driver

 Licenses and Passports.



 Sizes of the MATCH, NO MATCH and NO MATCH/NOT EXEMPTION ELIGIBLE

 lists



 62. Of the 13,564,416 records in the TEAM database, 12,653,563 matched to at least

 one record corresponding to acceptable SB 14 photo ID issued by the State of Texas, and

 6,326,122 records matched to at least one record corresponding to acceptable SB 14

 photo ID issued by the Federal government. (See Table V.3.A) Most of the records

 matched to the Federal databases also matched to a State of Texas identification database.

 No valid matching record was found on any of the state or Federal identification

 databases and no disability exemption was granted for 622,527 records on the TEAM

 database, approximately 4.6 percent of all records in TEAM. No matching record was

 found for 548,387 records in the TEAM database to a state or Federal identification

 database or to a Federal disability database. (See Table V.4.A) These numbers include




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 TEAM records that can be matched to DPS records flagged as deceased, as discussed in

 paragraph 55.



 63. Accounting for matched voters that DPS data indicate as deceased from the number

 of records in the TEAM database reduces the universe of registered voters from

 13,564,416 to 13,487,594. I define this set, which removes from further analysis voters

 that the State of Texas data from DPS indicate to be deceased, as the Baseline Universe

 of Registered voters. After removing TEAM records that matched to a deceased record,

 and from TEAM overall, leaves 608,470 voters on the NO MATCH list, out of a the

 13,487,594 records that I describe as the Baseline Universe on TEAM. Again, this

 means that 4.5 of Texas registered voters for whom there is no indication in a state

 database of being deceased are on the NO MATCH list. Likewise, there are 534,512

 records on the NO MATCH, NOT EXEMPTION ELIGIBLE List, representing 4.0

 percent of the 13,487,594 records in TEAM that were not indicated as deceased on any

 DPS record.



 VI. Results: Analysis of Racial Disparities



 64. This section analyzes how the rate of non-matched records between TEAM and valid

 SB 14 ID databases varies across racial groups.




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 A. Census Racial Data and Possession of ID



 65. The American Community Survey (ACS) conducted by the Census Bureau provides

 estimates of the racial composition of the electorate. Using the 5-year average of the

 survey from 2008 to 2012, the ACS provides estimates of the CVAP of various racial

 groups at the block group level and tract level.



 66. I aggregated the Match and No Match lists (which remove records indicated by DPS

 as deceased) to the block group level, the lowest geographic level at which Census

 reports ACS CVAP numbers.27 Within each block group, I computed counts of the

 numbers of registered voters and the number of registered voters who did not match any

 identification database and the number of registered voters who were matched to at least

 one identification database. I then computed the percentage of registered voters in each

 block group who were not matched to any record.



 67. I used ecological regression and homogeneous block group analyses28 to estimate the

 percentage of Black citizens of voting age, Hispanic citizens of voting age, and Anglo

 citizens of voting age for whom a matching record to an identification database was

 found. Ecological regression estimates the relationship between Percent No Match and

 Percent of CVAP who are Anglo, Black, or Hispanic, enabling me to estimate the percent

 of each group who match to an ID database. Homogeneous block group analysis

 27
    I conducted similar analyses at the Census tract level and discovered the same pattern
 of results. Because Block Group is a lower level of aggregation I present that here.
 28
    In other contexts data are at the precinct level, so homogeneous block group analysis is
 also called homogeneous precinct analysis.


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 examines the subset of block-groups where all or almost all of the adult citizens are of

 one race—in this analysis, at least 80 percentage of a given race. Within such racially

 homogeneous areas, I then compute the percent of registered persons for whom a

 matching identification record was found or not found; this enables me to estimate the

 percentage of that group who has (or does not have) an SB 14 ID. Both ecological

 regression analysis and homogeneous block group analysis are well-established statistical

 procedures relied upon in voting rights cases, where they are often used to measure

 racially polarized voting and cohesiveness of voting of racial groups.



 68. Table VI.1 presents the ecological regression and homogenous block group analysis

 estimates of the rate with which No Match was found among each racial group. The

 ecological regression estimates indicate that no match between TEAM and a state or

 Federal identification database was found for approximately 2 percent of Anglos, 8

 percent of Blacks, and 6 percent of Hispanics. The gross percentage point difference

 between the Black and Anglo rate of non-matching, then, is 6 percentage points, and the

 difference between Hispanics and Anglos is approximately 4 percentage points. In other

 words, Hispanics are three times as likely as Anglos to be on the NO MATCH list, and

 Blacks are four times as likely as Anglos to be a NO MATCH. (The percent difference in

 rates of non-matching is reflected in the Relative Rate of NO MATCH in Table VI.1 and

 subsequent tables.)



 69. The homogeneous block group analyses in Table VI.1 are similar to the ecological

 regression estimates. 3.1 percent of Anglo registered voters were estimated to have no




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 matching identification record on a state or Federal database. That figure was 11.5

 percentage points among Blacks and 8.6 points among Hispanics. In other words, the

 difference in the rate of NO MATCH equaled 8.4 points between Blacks and Anglos and

 5.5 points between Hispanics and Anglos. Again, in the homogeneous blocks, Hispanics

 are approximately two and a half times as likely as Anglos, and Blacks are almost four

 times as likely as Anglos to not match to a valid record in a qualifying identification

 database.



 70. The results from the analysis of the homogeneous block groups and the ecological

 regressions are highly unlikely to have arisen by chance. The observed differences across

 the groups are statistically significant at the confidence levels generally used by social

 scientists.



 B. Catalist Racial Data and Possession of ID



 71. Analysis of individual level data using the Catalist classification of race yields

 similar results to the aggregate analyses presented in part VI.A. The Baseline Universe

 of Registered Voters, which consists of all currently-registered voters in TEAM – after

 removing those who matched a record marked as deceased in a DPS ID file – has

 13,487,594 records. Of these, 8,246,016 are classified as Anglo according to Catalist’s

 estimates; 1,707,769 are Black; 3,042,497 are Hispanic; and 491,312 are Other Races.

 (See Table VI.2.)




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 72. The rate of non-matches between TEAM and identification databases varies by race.

 Of records identified as Anglo in the Baseline Universe of Registered Voters, 3.6 percent

 had no matching record in state or Federal identification databases. By comparison, no

 matching records were found for 7.5 percent of people identified as Black and 5.7 percent

 of people identified as Hispanic. (See Table VI.2.)



 73. The differences in rates of matching and non-matching across racial groups are

 statistically significant at the confidence levels normally used by social scientists. The

 difference between Blacks and Anglos in the rate of non-matching is 3.9 percentage

 points. Such a difference is highly unlikely to have arisen by chance given the degree of

 precision of the estimates.29 Likewise, the difference between Anglos and Hispanics in

 the rate of non-matching is 2.1 percentage points, which is highly unlikely to have arisen

 by chance.30 Using the Catalist racial classification, Blacks are 108 percent more likely

 to be a NO MATCH and Hispanics are 58 percent more likely to be a NO MATCH.



 C. Eligibility for Exemption and Vote-by-Mail



 74. The analysis in Table VI.2 does not account for the fact that those with a Federally-

 determined disability may qualify and apply for an exemption. Also, those over 65 may

 vote by mail without showing ID, but must still show ID if they vote at a polling place.




 29
    The 99 percent confidence interval for that difference in proportions is +/- 0.1
 percentage points, so the differences are statistically different from 0.
 30
    I use a 99 percent confidence level. That is the probability of observing a difference
 this large by chance is less than 1 percent.


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 75. Table VI.3 parallels the analysis in Table VI.2, but classifies as MATCHES records

 for which the voter could apply for the disability exemption or vote by mail because of

 age. Version VI.3.A presents the ecological regression results for this analysis using

 Census’ ACS data, and VI.3.B presents the results of the analysis using Catalist racial

 data. The first column of each table shows the relationship between Race and percent on

 the NO MATCH/NOT EXEMPTION ELIGIBLE. That list consists of those not

 matched to a state or Federal identification database or to a Federal disability database.

 The second column of each table shows the relationship between Race and percent on the

 NO MATCH/NOT AGE VOTE-BY-MAIL ELIGIBLE. That list consists of those not

 matched to a state or Federal identification database and under 65 years of age. The

 third column of each table shows the relationship between Race and percent on the NO

 MATCH/ NOT EXEMPTION ELIGIBLE/NOT AGE VOTE-BY-MAIL ELIGIBLE.

 That list covers people not potentially exempt for reasons of disability, who are under 65,

 and also not matched to a state or Federal ID. For this analysis the Baseline of 13,487,594

 records is used as the pool of registered individuals.



 76. The ecological regression analysis estimates that 1.1 percent of Anglos were NO

 MATCH/NOT EXEMPTION ELIGIBLE/NOT AGE VOTE-BY-MAIL ELIGIBLE. By

 comparison, 5.1 percent of Blacks and 4.3 percent of Hispanics were estimated to be NO

 MATCH/NOT EXEMPTION ELIGIBLE/NOT AGE VOTE-BY-MAIL ELIGIBLE.

 (See the last column of Table VI.3.A.) The differences between the rates of NO

 MATCH/NOT EXEMPTION ELIGIBLE/NOT AGE VOTE-BY-MAIL ELIGIBLE are




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 statistically significantly higher for minorities than for Anglos.   And these estimates are

 very similar to those in Table VI.1.



 77. Among records classified as Anglo by Catalist’s estimates, 2.0 percent were not

 matched to any record in any identification or exemption database and were under 65.

 By comparison, a NO MATCH and no potential exemption were found for 4.8 percent of

 people classified as Black and 4.0 percent of people classified as Hispanic. Similar

 patterns hold separately for those people who do not qualify for the disability exemption

 or for those under 65. See Table VI.3.B. These estimates are very similar to those in

 Table VI.2.



 78. The difference between Black and Anglo rates is 2.8 percentage points, and the

 difference between Hispanic and Anglo rates is 2.0 percentage points. Both differences

 are statistically significant at the confidence levels generally used by social scientists.

 Blacks are 140 percent more likely than Anglos to have neither a MATCH nor qualify for

 an exemption; Hispanics are 100 percent more likely to have neither a MATCH to a state

 or federal identification record nor qualify for an exemption.



 80. The aggregate and individual-level data are remarkably consistent. They show

 statistically significant differences between the rate with which Anglos and the rates with

 which Blacks and Hispanics on the TEAM database are matched to state and federal

 identification databases or are eligible for an exemption. The difference between Blacks

 and Anglos is in the range of 3 to 8 percentage points and the difference between




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 Hispanics and Anglos is in the range of 2 to 6 percentage points. Hispanics are at least

 50 percent more likely than Anglos to lack acceptable SB 14 ID, and Blacks are at least

 100 percent more likely than Anglos to lack acceptable SB 14 ID.



 D. Voting Rate among Registrations with No Match to an ID



 81. The NO MATCH list contains 1.5 percent of all registered voters on TEAM who

 voted in 2012 and 1.4 percent of all registered voters who voted in 2010.



 82. Table VI.4.A shows that the NO MATCH rate among voters is higher among

 minorities than among Anglos using Ecological Regression estimates of racial group

 differences. Ecological regression estimates that the NO MATCH rate among Anglos

 who voted was 0.8 percent in 2010 and 0.6 percent in 2012. The NO MATCH among

 Blacks who voted was 3.3 percent in 2010 and was 4.2 percent in 2012. The NO

 MATCH among Hispanics who voted was 1.9 percent in 2010 and was 2.0 percent in

 2012. The rates of NO MATCH among Black and Hispanic voters are statistically

 significantly higher than for Anglos.



 83. Table VI.4.B shows that the NO MATCH rate among voters is higher among

 minorities than among Anglos using the Catalist racial classification. Catalist’s racial

 estimates indicate that the NO MATCH rate among Anglos who voted was 1.2 percent in

 2010 and 1.1 percent in 2012. The NO MATCH among Blacks who voted was 2.6

 percent in 2010 and was 3.1 percent in 2012. The NO MATCH among Hispanics who




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 voted was 1.9 percent in 2010 and was 1.8 percent in 2012. The rates of NO MATCH

 among Black and Hispanic voters are statistically significantly higher than for Anglos.

 The rate with which Blacks on the No Match list voted in 2010 or 2012 is at least 2 times

 higher than the rate with which Anglos on the No Match list voted in those elections.

 The rate with which Hispanics on the No Match list voted in 2010 or 2012 is at least fifty

 percent higher than the rate with which Anglos on the No Match list voted in those

 elections.




 VII. Validation



 84. This section determines the sensitivity of results to alternative specifications of the

 pool of registered voters and to alternative classifications of race.



 A. Variations in Universe of Registered Voters



 85. The TEAM database is the official list of registered individuals in the State of Texas.

 Even so, there may be questions raised about the currency of some records in that

 database. All states that have voter registration will have at least some registrations that

 are out-of-date or invalid but still on the rolls, for a wide variety of reasons. I

 constructed alternative formulations of the list of registered voters to examine whether

 such concerns could affect the inferences drawn regarding racial disparities in rates of

 acceptable SB 14 ID possession.




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 86. This section examines variations in the pool of registered voters achieved by

 omitting records from TEAM for which there is some indication that the record may no

 longer be current or valid according to information from Catalist or internal to the TEAM

 or DPS databases.     Omitting these cases changes both the numerator and the

 denominator of calculations of the percent who are matched or not.



 87. Table VII.1 presents the rates with which racial groups match to the relevant state

 and federal databases under different constructions of the set of registered voters. Table

 VII.1.A presents ecological regression analyses using Census racial data, and Table

 VII.1.B presents analyses using Catalist racial data.



 Catalist Deceased, Deadwood, and NCOA flags



 88. The Catalist database includes indicators of whether an individual is deceased, is

 deadwood (an obsolete record), or has a National Change of Address application on file

 with the U.S. Postal Service, indicating that the individual has moved.31 Each of these

 categories provides evidence that a given registration record may no longer be current. I

 performed two sorts of analyses using the Catalist Deadwood flags. First, I performed

 ecological regression analyses. I removed the records that Catalist flagged as deadwood

 from the MATCH and NO MATCH lists, aggregated the data to the Block Group level,

 and then performed ecological regression on the rate of NO MATCH (without those



 31
      NCOA flags do not distinguish between in-county, in-state, and out-of-state moves.


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 indicated by Catalist as deadwood) on Census racial data. Second, I analyzed rates of

 NO MATCH across racial groups using the classification of racial groups provided by

 Catalist. Column 1 in Table VII.1.A and VII.1.B presents the overall NO MATCH figure

 and the rate of NO MATCH among racial groups excluding records flagged by Catalist as

 deceased, deadwood, or NCOA are excluded from TEAM.



 89. Column 1 of Table VII.1.A shows that the NO MATCH rate among voters is higher

 among minorities than among Anglos after excluding records flagged by Catalist as

 deceased, deadwood, or NCOA. Ecological regression estimates that the NO MATCH

 rate among Anglos in this subset of the data was 1.9 percent. The NO MATCH among

 Blacks in this subset of the data was 8.1 percent. The NO MATCH among Hispanics in

 this subset of the data was 5.9 percent. The rates of NO MATCH among Black and

 Hispanic voters are statistically significantly higher than for Anglos.



 90. In Table VII.1.B there are significant racial differences in rates of NO MATCHES

 after removing from TEAM records that Catalist’s data indicate as deceased, Deadwood,

 or NCOA and using the racial classification provided by Catalist. Among records that

 the Catalist race estimates classified as Anglo, 3.5 percent were not matched to any

 record in any identification database. By comparison, no matches were found for 7.5

 percent of people classified by Catalist as Black and 5.7 percent of people classified as

 Hispanic.




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 91. The difference between Black and Anglo rates of no matches is 4.0 percentage

 points, and the difference between Hispanic and Anglo rates of no matches is 2.2

 percentage points. Both differences are highly unlikely to arise by chance.



 Suspense Voters



 92. The TEAM database distinguishes Active and Suspense (or inactive) voters. A

 suspense voter is still legally registered but may be dropped from the registration list for

 reasons of non-voting or non-response to election office communications.32 Column 2 in

 Tables VII.1.A and VII.1.B present the rates of NO MATCH among racial groups

 excluding Suspense Voters from the pool of Registered Voters.



 93. Column 2 of Table VII.1.A presents the ecological regression estimates of non-

 matching rates for the racial groups after removing Suspense (or inactive) voters.

 Ecological regression estimates that the NO MATCH rate among Anglos in this subset of

 the data was 1.4 percent. The NO MATCH among Blacks in this subset of the data was

 7.7 percent. The NO MATCH among Hispanics in this subset of the data was 5.9

 percent. The rates of NO MATCH among Black and Hispanic voters are statistically

 significantly higher than for Anglos.




 32
    The Suspense List, as described in Section 15.081 of the Texas Election Code, is
 maintained by the voter registrar in each county. It contains the names of (1) voters that
 failed to respond to a confirmation notice, (2) voters whose renewal certificate was
 returned to the registrar as undeliverable, and (3) those individuals that were excused or
 disqualified from jury service because they were not a resident of a given county.


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 94. Column 2 of Table VII.1.B presents the analysis of non-matching rates for the racial

 groups after removing Suspense (or inactive) voters using individual-level estimates of

 race provided by Catalist. Among records that Catalist estimates classified as Anglo, 2.9

 percent were not matched to any record in any identification database. By comparison,

 no matches were found for 6.7 percent of people classified as Black and 5.2 percent of

 people classified as Hispanic.



 95. The differences between the racial groups are statistically significant. The

 difference between Black and Anglo rates of no matches is 3.8 percentage points, and the

 difference between Hispanic and Anglo rates of no matches is 1.3 percentage points.

 Both differences are highly unlikely to arise by chance.




 Expired IDs



 96. The DPS database lists records with expired IDs (DL, PID, CHL, and EIC). An

 expiration may simply mean that the individual allowed the driver license to expire

 because that person no longer drives. However, an expired license may also signal that

 the individual is no longer at a given residence.33 Column 3 in Table VII.1 presents the

 overall NO MATCH figure and the rate of NO MATCH among racial groups excluding

 from the pool of Registered Voters those who could be matched to DPS records with

 33
    Therefore, exclusion of these records removes some registered voters who no longer
 reside at the residence at which they are registered, and perhaps not in the State of Texas.
 It also removes records of some people who remain at their residence but allowed their
 ID to expire and will be affected by SB 14.


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 Expired IDs. It should be noted that in order to extract the expiration information, I first

 matched the records in TEAM to the DPS files and then omitted from the analysis all

 records that had IDs that were expired for more than 60 days and thus not valid for use

 under SB 14.



 97. Column 3 of Table VII.1.A presents the ecological regression estimates of non-

 matching rates for the racial groups after removing records with expired DPS IDs.

 Ecological regression estimates that the NO MATCH rate among Anglos in this subset of

 the data was 0.5 percent. The NO MATCH among Blacks in this subset of the data was

 5.4 percent. The NO MATCH among Hispanics in this subset of the data was 4.3

 percent. The rates of NO MATCH among Black and Hispanic voters are statistically

 significantly higher than for Anglos.



 98. Excluding those with expired IDs from the pool of Registered Voters, among

 records that the Catalist estimates classified as Anglo, 1.6 percent were not matched to

 any record in any identification database. By comparison, no matches were found for 4.2

 percent of people identified as Black and 3.4 percent of people identified as Hispanic.



 99. The differences between the racial groups are statistically significant. The

 difference between Black and Anglo rates of no matches and no exemptions is 2.6

 percentage points, and the difference between Hispanic and Anglo rates of no matches is

 1.8 percentage points. Both differences are statistically distinguishable from 0 difference.




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 All Filters



 100. Finally, I exclude from the pool of registered voters those records with Catalist

 deceased, deadwood, or NCOA flags, those with Expired IDs, and those listed as

 Suspense Voters from TEAM. Column 4 in Table VII.1.A and VII.1B presents the

 overall NO MATCH figure and the rate of NO MATCH among racial groups’

 registrations when excluding Expired IDs, Suspense registrations, and registrations for

 which there is a Catalist flag for deceased, deadwood, or NCOA.



 101. Column 4 of Table VII.1.A presents the ecological regression estimates of non-

 matching rates for the racial groups after removing Suspense (or inactive) voters.

 Ecological regression estimates that the NO MATCH rate among Anglos in this subset of

 the data was 0.5 percent. The NO MATCH among Blacks in this subset of the data was

 5.3 percent. The NO MATCH among Hispanics in this subset of the data was 4.3

 percent. The rates of NO MATCH among Black and Hispanic voters are statistically

 significantly higher than for Anglos.



 102. Excluding all three categories of possible obsolete records, among those that

 Catalist estimates classified as Anglo, 1.3 percent were not matched to any record in any

 identification database. By comparison, no matches were found for 3.7 percent of people

 classified as Black and 3.0 percent of people classified as Hispanic. Even after

 excluding these categories to test for the sensitivity of results to potential deadwood, I




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 find that Blacks were almost three times as likely to be a NO MATCH as Anglos, and

 Hispanics are more than two times as likely to be a NO MATCH as Anglos.



 103. The differences between the racial groups are statistically significant. The

 difference between Black and Anglo rates of no matches is 2.4 percentage points, and the

 difference between Hispanic and Anglo rates of no matches is 1.7 percentage points.

 Both are highly unlikely to have arisen by chance.



 104. These analyses suggest that the general pattern of racial differences holds even

 under varying constructions of the pool of registered voters. It is possible to perform

 further analyses using combinations of different filters and screens examined here.

 Appendix Tables A.VI.1 and A.VI.2 present results for the disparities on the incidence of

 NO MATCH for the subset of TEAM records for which Catalist shows that a record may

 be questionable as deceased, deadwood, or NCOA.



 B. Racial Classification



 105. The racial classification provided by Catalist is an estimated value for each

 individual based on local area demographics, frequencies of names, and other

 characteristics of the individuals. Errors in classification can occur. Statistical theory

 predicts that such errors will tend to reduce observed differences across the groups.34

 Hence, the true differences may be larger than the estimates above. It is possible to check

 34
   William G. Cochran, “Errors of Measurement in Statistics,” Technometrics 10 (Nov.
 1968): 637-666.


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 the robustness and validity of the racial differences observed using a subset of records for

 which Catalist estimates of race are of the highest confidence and by using data on

 Spanish Surnames on the Voter files.



 106. First, the pool of registered voters can be restricted to the subset of records for

 which Catalist has high confidence in the racial classification. Catalist provides

 information on the level of confidence in that predicted value. There are 6,772,927 such

 records in TEAM.



 107. Table VII.2 presents the numbers and percentages of each racial group in the NO

 MATCH and MATCH list starting with the Baseline Universe but retaining from TEAM

 only those records for which Catalist reports high confidence of the individual’s race.

 Overall, 4.0 percent of records in this subset of the TEAM baseline universe did not

 match to a corresponding record on a state or federal identification database.



 108. Racial differences in rates of NO MATCH are as more pronounced in the subset of

 registered voters for which Catalist reported that the racial classification estimate was

 “highly likely” correct. Of people that Catalist’s estimates classified as Anglo, 3.1

 percent had NO MATCH. By comparison, 9.3 percent of people classified as Black and

 5.7 percent of people classified as Hispanic on TEAM could not be matched to a

 corresponding record on any identification database. The percent NO MATCH is 2.6

 percentage points higher for Hispanics than for Anglos, and the percent NO MATCH is

 6.2 percentage points higher for Blacks than for Anglos. These differences are highly




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 unlikely to have arisen by chance and are somewhat larger than those exhibited in Tables

 VI.1.



 109. Second, the TEAM database includes an indicator of Spanish Surname Voter

 Registration (SSVR). I examine differences in NO MATCH rates for those with SSVR

 and those without to gain further evidence of a racial difference. Comparison of SSVR

 with non-SSVRs will understate the differences between Hispanics and Anglos, because

 the pool of non-SSVRs consists of both Anglos and Blacks.



 110. Table VII.3 presents the incidence of SSVR and non-SSVR in the NO MATCH and

 MATCH list for the Baseline. Of Spanish Surname Voter Registrations in TEAM, 5.8

 percent had NO MATCH. This estimate is nearly identical to the ecological regression

 estimate for Hispanics in Table VI.1, and slightly higher than the Catalist estimate in

 Table VI.2. Of those people classified as Non-SSVR, 4.1 percent failed to match to an

 identification database. The non-SSVR pool combines Anglos, Blacks, and other races,

 so it does not provide a pure comparison of Hispanics and Anglos. Even still, I observe a

 difference in the rate of NO MATCH of 1.7 percentage points between SSVR and Non-

 SSVR that is highly unlikely to have arisen by chance.




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 VIII. Historical Voting and Registration Patterns



 111. Registration and voting patterns in prior elections can be informative about

 historical patterns of behavior and election administration. To assess such historical

 conditions I examined three sorts of data.



 112. First, I examine data from TEAM on vote history and data from Catalist on race of

 individuals. These data measure whether Anglo registrants voted at higher rates than

 Black and Hispanic registrants in 2010 and 2012.



 113. Second, I examined the CPS Registration and Voting Supplement and Census

 reports based on the CPS of the numbers and percentages of persons and citizens of

 voting age who are registered and who voted in the State of Texas and in each racial or

 ethnic category. I studied the reports for 2006, 2008, 2010, and 2012.



 114. Third, I conducted ecological regression analyses to estimate the percentage of

 persons in each racial or ethnic group who are registered in the State of Texas and the

 percentage of registered persons in each racial or ethnic group who voted. This

 methodology is an established methodology for studying voting patterns in voting rights

 cases; see Thornburg v. Gingles, 478 US 30, 52-54 (1986).




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 A. Catalist and TEAM


 115. Tables VIII.1a and VIII.1b present the percentages of Registered Anglos, Blacks,

 and Hispanics who voted in the State of Texas in 2010 and 2012, according to the

 Catalist estimates of individual voter’s race and TEAM data on vote history. The table

 presents all voters (active and suspense) in the top panel and only active voters in the

 bottom panel. These data show that registered Anglos voted at significantly higher rates

 than registered Hispanics and Blacks in the two elections immediately prior to the

 implementation of SB 14.



 B. Ecological Regression Estimates



 116. I performed ecological regressions across VTDs to estimate the registration and

 voting rates of various groups. For these estimates I used Census Enumeration counts of

 VAP, ACS estimates of CVAP, and Registration and Vote data reported by the Texas

 Legislative Council.



 117. I performed two sets of ecological regressions for each of elections considered, the

 2006, 2008, 2010, and 2012 elections. The first set estimates the rate of Registration as a

 percent of the VAP and of the CVAP for each of the groups. I regress the percent of the

 VAP or CVAP that is registered on the percentages of each of the groups in the VAP or

 CVAP. The second set of analyses estimates the voting rate of registered persons for

 each of the groups. This is done by regressing the percent of registered persons who

 voted on the percentages of each of the groups in the VAP or CVAP.



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 118. Tables VIII.2a and VIII.2b present the Ecological Regression estimates of the

 percentages of adult citizen Anglos, Hispanics, and Blacks in the State of Texas who

 were registered in the 2006, 2008, 2010, and 2012 elections. The 95 percent confidence

 interval for these estimates is reported in parentheses beneath each estimated percentage.



 119. According to the ecological regression estimates in Tables VIII.2a andVIII.2b, 83 to

 87 percent of Anglos of Voting Age and 84 to 88 percent of Anglo Citizens of Voting

 Age in Texas are registered to vote. 65 to 77 percent of Blacks of Voting Age and 75 to

 80 percent of the Black CVAP are registered to vote. And, 50 to 55 percent of Hispanics

 of Voting Age and 75 to 80 percent of Hispanic CVAP are registered to vote. The

 differences between Anglo and Hispanic registration rates and between Anglo and Black

 registration rates are highly unlikely to have arisen by chance (i.e., are statistically

 significantly different from 0).



 120. Tables VIII.3a and VIII.3b present Ecological Regression estimates of the percent

 of registered persons who voted among specific racial or ethnic groups in Texas.

 According to the Ecological Regression estimates, the voting rates among registered

 voters of Anglo populations ranges from 10 to 20 points higher than the voting rates of

 Blacks, and the voting rate among registered voters of Anglo populations ranges from 15

 to 30 points higher than the voting rates of Hispanic populations.




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 C. Current Population Survey



 121. Table VIII.4 presents the CPS estimates of the percentages of adult citizen Anglos,

 Hispanics, and Blacks in the State of Texas who reported being registered to vote in the

 top panel and the percentages of each group who reported voting in the bottom panel.

 The margin of error of these estimates (a 95 percent confidence interval) is reported in

 parentheses beneath each estimated percentage.



 122. The CPS estimates indicate that there existed no statistically significant difference

 between the percentages of Black and Anglo voter registration and turnout among adult

 citizens in the State of Texas from 2006 to 2012. The largest observed difference in the

 CPS estimates of registration rates of Blacks and Anglos arose in 2010 and was not

 statistically different from 0. However, the margin of error of these estimates is very

 wide, 7 to 9 percentage points for Blacks, so these data do not have much statistical

 power.



 123. The CPS estimates indicate that Hispanic adult citizens in the State of Texas are

 significantly less likely to be registered to vote than Anglo adult citizens in the State of

 Texas. In 2012, for example, the difference in these groups’ registration rates is 18.5

 percentage points, with a standard error of 3.7 points. The 95 percent confidence interval

 for this estimated difference is 7.4 points. Hence, the difference is significantly greater

 than 0, even though the margin of error is quite wide.




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 124. The CPS estimates also indicate that Hispanic adult citizens in the State of Texas

 are significantly less likely to vote than Anglo adult citizens in the State of Texas. In

 2012, for example, the difference in Anglo and Hispanic voting rates is 22.1 percentage

 points, with a standard error of 7.3 points. The 95 percent confidence interval for this

 estimated difference is 14.6 points. Hence, the difference is significantly greater than 0.



 125. Table VIII.5 presents estimates of the percent of the Registered Persons in a given

 group that voted. These percentages are quite similar for Blacks and Anglos, according to

 the CPS figures, but the rate at which Hispanic registrants vote is estimated to be 10 to 20

 points lower than for Anglos.



 126. The margin of error on the CPS estimates, however, is sufficiently wide that these

 data support a fairly wide range of possible outcomes. Specifically, one cannot reject the

 hypothesis that the estimates based on the CPS in Table VIII.5 are inconsistent with the

 results from the Catalist data in Table VIII.1. Hence, CPS does not have the statistical

 power to detect differences at the level found using the NO MATCH list and Catalist

 racial classifications. Even so, CPS shows significant differences in registration and

 voting between Anglos and Hispanics.



 127. Overall, the Catalist figures, CPS survey estimates, and the Ecological Regression

 estimates show that there are statistically significant differences across racial and ethnic

 groups in the rate at which individuals register to vote and the rate at which they vote,

 given that they were already registered. The observed differences in possession of SB 14




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 ID, then, only add a further potential barrier to participation for groups that already have

 lower participation rates than Anglos in the State of Texas.




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 IX. Reply to Reports of Professors Hood and Milyo



 Overview



 128. Neither report discusses the substance of my two key findings. (1) There are racial

 differences in rates of NO MATCH according to Ecological Regression. (2) There are

 racial differences in rate of NO MATCH according to individual-level Catalist race

 estiamtes. These results confirm and validate each other.



 129. Neither report offers any specific commentary on the ecological regressions

 performed using Census racial data or the individual level analyses using Catalist data.



 130. My findings are consistent with evidence produced in other states, using both

 database matching and survey methodologies, most notably in 2012 in South Carolina,

 which has the advantage of a voter registration database containing both full Social

 Security numbers and the race of the registrant. In that case, database matching produced

 estimates that 3.9% of whites lacked required state or federal ID, compared to 8.3% of

 African-Americans and 6.7% of Hispanics.35 My findings as to Texas here are also

 consistent with findings from Georgia produced by the State of Texas’s own expert in the

 present litigation, and presented in his report.




 35
   Charles Stewart III, “Voter ID: Who Has Them? Who Shows Them?” 66 Okla. L. Rev.
 21.


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 131. Neither report shows that any of the objections the authors raise affect the findings

 of racial disparities identified in my report. Specifically, neither report documents that

 any of the criticisms offered of the matching process or of the quality of State of Texas

 data alter any conclusions drawn about disparities in the rates with which Blacks and

 Hispanics possess ID acceptable under SB 14 relative the rate with which Anglos possess

 those IDs.



 132. These reports make three broad claims regarding the conclusions in my report.



 133. First, they are critical of the matching process insofar as some records on the State

 of Texas official record of registered voters (TEAM database) may be obsolete

 (deadwood), say because an individual is deceased or moved. Milyo offers an estimate

 that between 0 and 24 percent of records on the State of Texas voter registration list are

 deadwood. He provides no assessment as to whether his estimated deadwood records

 are matched or not matched to State of Texas or federal identification databases. Nor

 does he establish that any deadwood on Texas’s voter registration list creates matching

 problems that are correlated with race. My original report examined exactly this

 question and concluded that the racial disparities in match rates do not change with

 alternative methods of identifying deadwood or deceased records through use of both

 state and non-official sources.



 134. Specifically, additional analyses are performed to test the sensitivity to possible

 objections concerning possible deadwood on the registration rolls. Milyo calls the




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 “hidden results,” but the results are fully reported and their relationship to the overall

 analysis is clearly stated in my initial report. Those analyses test the sensitivity of results

 excluding Suspense voters, excluding potentially exempt voters, excluding cases flagged

 by Catalist as deceased, deadwood, or having an NCOA flag. The disparity in the rates

 of NO MATCH across racial groups remain quite stable across various analyses to

 examine sensitivity of results to other (non-official) indicators of deadwood records and

 deceased voters. Taken together, those results reveal that the racial gap shown in the

 data is real and durable.



 135. Second, both reports are critical of the matching process. While Professor Hood

 lists specific problems of concern that would create a NO MATCH in the merge process,

 Professor Milyo argues that deadwood generally creates a problem for matching.

 Professor Milyo does not offer specific concerns about the matching algorithm that I

 used. While Professor Hood lists specific problems of concern that could create a NO

 MATCH in any merging process, his specific criticisms have already been anticipated

 and accounted for in the thorough matching algorithm that I implemented.



 136. Neither report offers an alternative implementation of the matching process, even

 though one of the state’s experts (Professor Hood) has conducted record linkage and

 matching for purposes of evaluating ID laws. Neither report establishes that their

 criticisms affect conclusions about racial differences.




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 137. Both Professor Hood and Professor Milyo raise concerns about the quality of the

 TEAM and DPS databases maintained by the State of Texas. I take the State of Texas

 TEAM database for what it is—the official record of registered voters in the State of

 Texas. Likewise, I take the DPS data as the official record of photo IDs issued by the

 State of Texas. The contents of these databases will be used to verify whether a voter

 can cast an in-person ballot.



 138. The purpose of the algorithm that I developed and implemented is to find all

 individuals in TEAM who likely have a matching record in at least one identification

 database, and, thus, likely have a form of ID required under SB 14.



 139. My objective is not to measure the problems with the lists maintained by the State

 of Texas, and the potential barriers to voting that might arise from problems in those lists,

 but to ascertain whether minority voters are going to be disparately burdened by the law

 because of lower rates of SB 14 ID possession.     I perform multiple sweeps through the

 relevant databases in order to guard against errors in a specific field producing a non-

 match.



 140. Third, the reports characterize academic literature incorrectly in three respects.

 Most of literature reviewed concerns ID laws with requirements that are not comparable

 to those imposed by Texas’s SB 14. Neither report explains how to extrapolate the

 analyses of those laws to analysis of the effects of SB 14’s requirements.




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 A. Response to the Report by Professor Hood



 1. Academic Research on Voter ID



 141. On pages 10 and 11, Professor Hood describes studies of Voter ID laws covering

 elections from 2000 to 2008, including my own 2009 paper.36 Most of these studies,

 including my own, compare the typical ID law at the time with states that did not require

 ID. Before 2008, laws requiring photo ID were atypical of ID laws. Hence, these

 studies, and the conclusions in them, do not directly apply to the present law. No

 analysis is conducted by Professor Hood to state how these studies apply to the current

 law. My conclusions in my 2009 paper were based on the data presented in that paper,

 and on the range of ID laws across many states with varying degrees of strictness.37 My

 conclusions in this report are based on the data described above. My conclusions

 presented here and in my 2009 paper are in no way contradictory.



 142. Subsequent research has found that states that recently adopted photo ID laws have

 experienced drops in turnout connected with the adoption of those laws. An article in a

 peer reviewed journal by Professors Alvarez, Bailey, and Katz in 2011 shows that the



 36
    Stephen Ansolabehere, “Effects of Identification Requirements on Voting: Evidence
 from the Experiences of Voters on Election Day,” PS: Political Science, January, 2009,
 pages 127-130, doi:10.1017/S1049096509090313.
 37
    The National Conference of State Legislatures provides a summary of sates’ voter
 authentication rules. Wendy Underhill, “Voter Identification Requirements” National
 Conference of State Legislatures, June 25, 2014, http://www.ncsl.org/research/elections-
 and-campaigns/voter-id.aspx


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 states that introduced photo ID had a significant drop in turnout, and that the photo ID

 requirements had qualitatively different effects on turnout than other laws.38 Other, less

 restrictive ID laws had minimal effects on turnout in their analysis, but requiring photo

 ID corresponded with a significant decline in turnout.39



 143. Professors Hood and Bullock in their 2008 study of the Georgia photo ID law

 establish the link between lack of ID and decreased turnout. That study uses record

 linkage and database matching between the voter registration list in Georgia and the

 driver license list in Georgia. The authors found that “[r]egistrants who lack drivers

 licenses are generally less engaged politically and maybe even less apt to participate if

 more ID restrictions are put in place. (Page 573).” See also their 2012 article.40



 144. Professors Hood and Bullock further established the link between race and lack of

 ID in Georgia. They concluded that “[r]egistered voters are significantly less likely to

 possess a drivers license if they are from minority groups, especially if they are Black and

 Hispanic, and if they are older.” (Page 572) According to Hood and Bullock, then,

 Blacks and Hispanics are significantly less likely than Whites to possess drivers licenses,

 and those without drivers licenses are significantly less likely to vote following the

 implementation of the Georgia photo ID law.

 38
    R. Michael Alvarez, Delia Bailey, and Jonathan Katz, “An Empirical Bayes Approach
 to Estimating Ordinal Treatment Effects, Political Analysis 19: 20-31.
 39
    Mycoff, Wagner, and Wilson, “The Empirical Effects of Voter-ID Laws: Present or
 Absent?” PS: Political Science January, 2009, pages 121-126, examine CCES survey
 data and find a negative effect of photo ID requirements, but the statistical precision is
 insufficient to determine whether the true effect is statistically distinguishable from 0.
 40
    M. V. Hood and Charles S. Bullock III, “Much Ado About Nothing? An Empirical
 Assessment of the Georgia Voter Identification Statute”


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 145. In his report, Professor Hood characterizes his study as showing no racial

 difference in turnout with the introduction of the photo ID law in Georgia. This

 conclusion arises from the analyses in Tables 2 and 3 in his report. Those analyses

 estimate the differential drop in turnout between those who had ID and those who did not

 have ID from 2004 to 2008 in Georgia across racial groups. He concludes that there is

 no difference across racial groups in the change in differential turnout. Professor Hood’s

 interpretation and methodology in reaching that conclusion are flawed.



 146. The interpretation ignores the fact that there are racial disparities in possession of

 ID. The analysis in Tables 2 and 3 addresses the decline in turnout within groups for

 those who possessed and did not possess IDs in Georgia. It does not address the question

 of the total effect of the ID law given differential rates with which groups possess ID. A

 hypothetical example demonstrates the point. Suppose there are two groups. In one

 group 98 people have ID and 2 do not. And in a second group, 2 have ID and 98 do not.

 Before the ID law is implemented all people with ID vote and half of those without ID do

 not.   Once the law is implemented all people with ID vote and none of those without ID

 vote. The decline in turnout is the same within both groups. That is, 100 percent of

 those with ID voted before the law and 50 percent of those without ID voted before the

 law within both groups, and the decline in voting from before to after is the same.

 However, the effect of the law falls almost entirely on the second group because of the

 lower rate of possession of ID. Specifically, the turnout rate of the first group would be

 99 percent before the law and 98 percent after the law, but the turnout rate of the second




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 group would be 51 percent before the law and 2 percent after the law.41 This

 hypothetical assumes that the differential decline in turnout is the same in both groups,

 and it demonstrates that that is not the measure of the total effect of the law on turnout of

 groups.



 147. Other scholars have issued methodological criticisms of the study of the Georgia

 photo ID law by Professors Hood and Bullock. Professor Stewart provides a thorough

 assessment of some of the weaknesses of the research design, with which I agree. (See

 attached report of Professor Charles Stewart in South Carolina v. United States.) Two

 critiques are especially important in ascertaining whether there is an effect of photo ID

 laws.



 148. First, differences in income and other demographics across groups will translate

 into differential effects of photo ID laws on minorities. Drawing on the results reported

 in his research, Professor Hood reports results of multivariate logit analyses, which hold

 constant income, gender, age, and area of residency. He concludes that there is no racial

 effect of photo ID laws on turnout. However, the coefficient on race in the logistic

 regression is not the average effect of the law on a typical Black person, a typical

 Hispanic person, or a typical White person. It is the difference across racial groups,

 assuming all racial groups are the same in all other demographics, including income.

 41
   Before the law 1 of the 2 people in group 1 without ID would vote and all 98 of those
 with ID would vote, for a turnout rate of 99 percent. After the law, all 98 with ID would
 vote and neither of those with ID would vote. For the second group, before the law, 49
 of the 98 people (half) without ID would vote and both of those with ID would vote, for a
 turnout rate of 51 percent. After the law, all 98 without ID would not vote and both of
 those with ID would vote.


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 That is, there is no significant difference in expected turnout between a white and a black

 individual who have the same income, gender, age and area of residency.



 149. All things, of course, are not equal. Blacks and Hispanics have lower income and

 are younger than Whites in Georgia42 and in Texas.43 The introduction of statistical

 controls makes it appear in the multivariate logit analysis that there are no racial

 differences when in fact there may be one because minorities have lower values on

 average on the relevant statistical controls.



 150. Second, Professor Hood’s estimate of the decline in turnout among those without

 ID is biased and biased in a way that will overstate the decline in White turnout from

 2004 to 2008 relative to the decline in Black and Hispanic turnout. The comparison of

 2004 and 2008 in Hood and Bullock, and reproduced in Tables 2 and 3 of Professor

 Hood’s report, rests of knowing who had Driver Licenses in 2004 and in 2008. To

 determine that, Professors Hood and Bullock engage in record linkage and database

 matching of the Georgia voter file to the Driver License list. The databases are already

 linked through a unique identifier. The list of individuals who do not have driver licenses

 was produced late in 2007.




 42
    See Rebuttal Declaration of Professor Charles Stewart, in South Carolina versus United
 States, United States District Court of District of Columbia, Document 166-2, especially
 pages 38-53.
 43
    See Granted Request for Judicial Notice, in Veasey v. Perry, in the United States
 District Court for the Southern District of Texas, Corpus Christi Division, Document 252



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 151. The matching procedures used by Professor Hood had dramatically different rates

 of matching for 2004 and 2008. Professors Hood and Bullock relied solely on the

 “unique identifier,” and they matched 98.2% of 2008 registered voters to the 2007 list of

 those without driver license, but only 78.5% of 2004 registered voters to the 2007 list of

 those without drivers licenses. It is improbable that there was a 20-percentage point

 increase in the number of registered voters who actually had drivers licenses between

 2004 and 2008. More likely the matching algorithm did substantially worse in that year,

 making the estimates for 2004 much worse than for 2008 and introducing a roughly 20-

 point bias in any direct comparison of ID possession between the two years.



 152. The 98.2 percent matching rate that Professors Hood and Bullock found through

 use of a unique identifier in record linkage is approximately the same level of reliability

 that the algorithm I implemented attains using multiple identifiers that combine Address,

 Name, Gender, and Data of Birth. (See the comparison with SSN9 matches below.) The

 reliability of the match rates of the algorithm implemented for the United States in the

 present case far exceeds the 78.5% rate that Hood and Bullock found as to the 2004

 registered voters.



 153. The large difference between the 2004 and 2008 match rates in the analysis

 performed by Professors Hood and Bullock will bias the estimates of the drop in turnout

 and, if there are racial differences in possession of ID, will bias the estimated effect of the

 law on those who do no possess ID across racial groups. The bias in the drop in turnout

 arises because many people who actually have ID are classified as not having ID in 2004,




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 but not in 2008. Since those with ID vote at a much higher rate than those without ID

 (even before the new photo ID law went into effect), those classified as not having ID in

 2004 are a mix of those without ID, who vote at a low rate, and some people with ID,

 who vote at a higher rate. That will inflate the estimated voting rate of those who do not

 in fact have ID.



 154. If possession of ID is correlated with race, the misclassification will inflate the

 estimated turnout rate of Whites without ID more than it will inflate the estimated turnout

 rate of Blacks and Hispanics without ID.



 155. In sum, the methodological problems with the Hood and Bullock estimates (and

 with Tables 2 and 3 in Professor Hood’s report) caution against drawing reliable

 conclusions about the racial disparities in the effects of the introduction of photo ID rules

 in Georgia on turnout. Methodological problems aside, the results in Tables 2 and 3 do

 not address the fact of racial disparities in rates of possession of IDs; hence, the results

 cannot be interpreted as the total effect of the introduction of the photo ID laws on voter

 participation by race.



 2. Matching Algorithm



 156. Professor Hood offers six specific criticisms of my matching algorithm. I respond

 to each in kind.




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 a. There is no universal identifier in these databases.



 157. The State of Texas does not record a unique identifier, such as SSN9, for every

 record on that corresponds to an individual on DPS and other state databases. Not every

 TEAM record has an SSN9 or DPS ID number.



 158. As Hood and Bullock’s work shows even with such a “universal identifier”

 subsequent matching procedures are required. The universal identifier in their study of

 Georgia matched 98.2 percent of records in 2008 and 78.5 percent for 2004.



 159. The state of science is to use multiple identifiers, either using exact matches or

 probabilistic matches, even when there is a universal identifier because of problems of

 missing data and typographical errors. That is what I have done. The reliability of this

 method is further shown through the analysis of possible false positive and false negative

 matches below.



 b. Missing data in fields



 160. As I discussed in sections IV.B and IV.C, missing data in fields is one reason for

 using multiple identifiers for record linkage. Even the universal identifiers have missing

 data (and other errors) such that use of multiple identifiers is preferable.




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 161. The use of multiple identifiers avoids non-matching arising from a field being

 missing in one database. For example, one matching combination I used includes only

 Address, Date of Birth, and Gender. Because there are no Name elements in this

 identifier, missingness in name will not make a match impossible.



 162. Using multiple indicators avoids non-matches arising from a field being missing in

 one database but not in other databases. If one field is missing, no identifier is created

 for purposes of matching for any indicator that relies on that field. If that occurs in

 TEAM no match is attempted for that identifier. If that occurs in an identification

 database, no match occurs for that record. However, we match on multiple identifiers

 and there is always at least one identifier that does not rely on a given field.   For

 example, the combination of Address, Gender, Date of Birth that I use does not rely on

 Name, so missingness in name does not mean a match is impossible.



 c. Inconsistencies in Fields between Databases



 163. Professor Hood states that inconsistencies in fields across databases can lead to

 incorrect NO MATCH. On page 20 of his report, Professor Hood provides the example

 of a person who is recorded with the name JIM SMITH in one file and JAMES SMITH

 and the same DATE OF BIRTH, ADDRESS, and GENDER on both files.



 164. The algorithm used was developed to avoid this and similar problems. The

 variations built into the matching combinations avoid non-matches that would arise from




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 a wide variety of issues, such as variations in first names and nicknames, hyphenated or

 multiple last names, variations in recording of addresses.



 165. In the particular example Professor Hood offers, the algorithm would have found a

 match because certain matching combinations do not include first name, while others do

 not include any name element at all.



 166. Professor Hood offers no other examples of potential problems, nor any assessment

 of the likely frequency of such problems.



 d. Errors in Fields



 167. Errors in fields might also create inconsistencies between analogous fields in

 databases. Here again, the use of multiple indicators ensures that typographical and other

 errors in fields do not prevent matches from occurring. A typographical error in, say, ZIP

 code, would not prevent a match on Date of Birth, Gender, and Name.



 168. Professor Hood provides the example of the high frequency of birthdates on the first

 date of the month or on November 11. But identifiers that do not use Date of Birth, such

 as Address, Gender, and Name will still link match these records, even when there are

 errors in Dates of Birth.



 e. Deceased Fields Do Not Identify All Deceased Persons




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 169. Our approach to deceased individuals is to take the State of Texas databases at face

 value, and then to conduct additional analyses using Catalist identifiers for the likely

 deceased. After matching has occurred, I use all DPS indicators for deceased persons to

 remove from the set of TEAM records to be analyzed all individuals matched to records

 DPS has marked as deceased.



 170. In additional analyses, we further remove individuals that Catalist identifies as

 likely deceased. These additional analyses test the sensitivity of results to Deceased

 persons and other forms of obsolete records, and they show that deceased records do not

 affect inferences concerning racial differences in rates with which NO MATCH is found

 between TEAM and identification databases.



 171. Professor Hood offers no evidence deceased individuals remain on the rolls after

 our matching process or after the incorporation of information from Catalist, nor that any

 such records bias the racial disparities found.



 f. No Race or Ethnicity on Database



 172. The fact that race is not on the voter files does not preclude analyses of racial

 disparities in election laws. I approach this matter two ways: using ecological regression

 and Census data on race and using classification of race of individual records on TEAM

 provided by Catalist. Ecological Regression analysis is a well established and accepted




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 methodology for using aggregate election and racial data, say at the level of block groups

 or voting tabulation districts, to estimate the behavior of various racial groups. In

 Thornburg v. Gingles 478 US 30 (1986), the Supreme Court established that ecological

 regression is an acceptable form of evidence in questions arising under section 2 of the

 Voting Rights Act. Ecological regression using Census racial data shows statistically

 significant differences in rates of NO MATCH among racial groups.



 173. Race is on the voter files in only 9 states, but not Texas. In lieu of individuals’

 self-reported race, I analyze data on the likely race of individuals provided by Catalist,

 LLC. Analysis of that information shows significant differences in the rates of NO

 MATCH among racial groups, consistent with the conclusions of Ecological Regression

 analyses.



 174. The State of Texas makes its own race-related variable, in Spanish Surname Voter

 Registration (SSVR). That indicator is on the voter files. We analyze SSVR versus

 other records and find a racial disparity between those identified as Hispanic (Spanish

 Surname) are less likely to have a matching record on an identification database than are

 other registered voters. Also the NO MATCH rate for SSVR is quite similar to that

 found using the analysis of Census racial data and Catalist racial data.




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 g. No Post Estimation Validation



 175. Professor Hood states that I reported no analysis of potential false positives and

 false negatives in the matching process. He does not specify what exact analysis ought to

 be done, nor does he offer an analysis and evidence indicating why he thinks there may

 be an unusual number of false positives and false negatives.



 176. In developing the algorithm for the primary matches, I did perform post estimation

 validation. I used matches to SSN9 as a “unique identifier” against which to test the

 accuracy of the primary matches using combinations of Address, Date of Birth, Gender,

 and Name. For the subset of records with SSN9 on TEAM (approximately half of the

 records), I examined cases that had SSN9 and for which there was NO MATCH between

 TEAM and a DPS record using combinations of Address, Date of Birth, Gender, and

 Name. That is, to test the validity of the Primary Matching algorithm, I conducted those

 matches for cases with SSN9. I then rematched the cases to DPS using SSN9, and

 calculated the percent of cases for which no Primary Match could be found but for which

 there was an SSN9 match.



 177. In preliminary analyses approximately 5 percent of these NO MATCH records had

 a match to DPS on SSN9. Matching on SSN9 (approximately half of cases), matching

 on Texas DL (a primary match but not used for the validation), and matching on

 secondary matches using combinations of Name, Address, and SSN4 would reduce that

 number further.




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 178. I conducted this analysis again with the complete TEAM and DPS data and with

 clarification of the license surrendered field on September 10, 2014. Again, I restrict the

 analysis to the subset of records on TEAM that have an SSN9 and for which validation of

 the matching algorithm is possible. First I examined the set of records for which there

 was a match using SSN9 and ascertained how many failed to match to have a primary

 match using Address, Date of Birth, Gender and Name. Of the 5,384,916 records that

 match on SSN9 between TEAM and DPS, 2.5 percent were not matched using Address,

 Date of Birth, Gender and Name between TEAM and DPS. I further examined the set of

 cases for which there was a primary match using Address, Date of Birth, Gender, and

 Name. Of the 5,368,831 records on TEAM that match to one of the primary indicators

 using Address, Date of Birth, Gender, and Name between TEAM and DPS, 2.2% were

 matched using SSN9 to link records between TEAM and DPS. Hence, the Address, Date

 of Birth, Gender, and Name combinations could accurately match 97.5 percent of records

 (using SSN9 as the benchmark for validation). By comparison, SSN9, which is often

 relied on as a unique identifier, could match 97.8 percent of records (using Address, Date

 of Birth, Gender, and Name primary matches as a benchmark for validation. In other

 words, the primary matches on combinations of Address, Date of Birth, Gender, and

 Name are almost the functional equivalent to matching on SSN9. See Table X.1.



 179. The rate at which the primary sweeps using Address, Date of Birth, Gender, and

 Name combinations yield NO MATCH but for which a matching SSN9 exists is

 extremely low. It is lower, for example, comparable to the rates reported in the article of




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 Professors Hood and Bullock on the Georgia ID law for 2008 (98.2%), and much lower

 than the figure they report for 2004 (78.5%).



 180. The rate at which the primary sweeps using Address, Date of Birth, Gender, and

 Name combinations yield NO MATCH but for which a matching SSN9 exists is lowered

 further upon using DPS ID in the primary matches, upon conducting secondary matches,

 including SSN9, and upon using the federal data. It is also worth noting that not all of

 the cases in this small subset of NO MATCHES are erroneous. Some of these NO

 MATCHES may reflect discrepant information on TEAM and DPS that would make it

 difficult to authenticate the person at the voting place, such as a name change and missing

 Date of Birth, or a change in name and address.




 3. Analyses of the No Match List



 NOTE: This section (paragraphs 181-92) was not revised following the correction

 on September 9 2014, by the State of Texas concerning the treatment of the license

 surrender field on DPS databases.



 a. NO MATCH records with State IDs



 181. Professor Hood presents an estimate of the number and fraction of cases on the NO

 MATCH list with a DPS ID. This is meant to suggest that these are cases that should




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 have been matched, but were not. Professor Hood does not provide evidence that any of

 these records were in fact found on the DPS lists and had valid ID.



 182. A breakdown of the NO MATCH list reveals that 90 percent of these cases

 affirmatively do not have a valid SB 14 ID. The remaining 10 percent could not be found

 on the DPS list.



 183. Of the 786,727 records on the NO MATCH list, 446,180 have a DPS ID number

 (e.g., a driver license or state ID) and 340,551 have no DPS ID number. That is 56.7%

 have a DPS ID number.



 184. Of the 446,180 with a DPS ID, 226,054 records have an expired ID and 220,126

 have a non-expired ID.



 185. Of the 220,126 on the NO MATCH list who have a non-expired ID, 138,081 were

 originally on the MATCHED using the January 2014 list but were determined after

 receiving additional information provided by the State of Texas in July to have a card

 status or license surrender status indicating that the individual does not currently posses

 the driver license or personal ID associated with that particular record.



 186. The remaining 82,045 records had a DPS ID number on TEAM and were classified

 as NO MATCH. I searched for the DPS ID number and the SSN9 (for those that had

 one) in the DPS file and determined that none of these cases match to the DPS file using




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 the DPS ID, SSN9, or on any sweep using the algorithm I developed. I performed a

 visual inspection of the databases of 100 randomly selected cases from these lists for

 similar names and other identifying information and did not find any similar records.



 187. There are several reasons why these people would have a DPS ID and not be on the

 DPS. A non-exhaustive list includes the following: (1) The underlying DPS record

 may have been purged, perhaps because they were no longer valid and were removed as

 deadwood from DPS. (2) The DPS records provided to me may not be complete. There

 might, for example, be a programming problem in the creation of the file using DPS, as

 occurred in January. (3) There might be typographical errors in the DL number (though,

 if that alone were the cause, the other matching sweeps likely would have caught some of

 these records).



 188. Hence, of the 786,727 persons on the NO MATCH list, 340,551 (45.3%) do not

 have a record of a DPS ID on TEAM. Of those that do have a DPS ID on TEAM,

 220,126 have an expired DPS ID, 138,081 have a problem with the DPS ID such as a

 surrendered license, and 82,045 have a DPS ID according to TEAM but are not evidently

 on the DPS file.



 189. These records, then, appear to be genuine records of NO MATCH because they

 have no ID, have no valid ID, or are not included in the DPS dataset.




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 b. 2013 and 2014 Turnout



 NOTE: This section was not revised following the correction in September, 2014, by the

 State of Texas concerning the treatment of the license surrender field on DPS databases.

 190. Professor Hood analyzes turnout data for 2013 and 2014 among the records on the

 NO MATCH list. Approximately 7 percent of records on the NO MATCH list using the

 January 2014 data were determined to have voted in an election in 2013 or 2014.



 191.   I examined the number and percent of records on the NO MATCH list that voted

 in the 2014 Primary and Primary-Runoff election, after re-doing the matching algorithm

 with the supplemental data provided by the State of Texas. Of the 786,727 records on

 the NO MATCH file (after removing deceased records) 27,769 (3.5 percent) are recorded

 as having voted in the 2014 Primary and 12,994 (1.7 percent) are recorded as having

 voted in the 2014 Run-off election. 22,387 (2.8 percent of the NO MATCH) voted in

 person rather than absentee.



 192. There are a variety of explanations that are possible for these cases. Including:

 Individuals may have updated their registration records between January and the election

 dates; they may have obtained a new license in that interval; they may have had

 unmatchable records; poll workers may have let these individuals vote without the

 required ID.   20 percent voted absentee by mail.




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 B. Response to the Report by Professor Milyo



 193. Professor Milyo begins his discussion of my analysis of record linkage and

 matching of the State of Texas voter registration records with an assessment of the

 existing research on the subject. In paragraph 21 he states that he is “unaware of any

 scholarly studies that analyze the effects of voter ID by examining ‘non-matches’

 between a state voter registration database and external databases.” (See also paragraph

 22.) This statement is incorrect. The article by Professors Hood and Bullock, “Much

 Ado About Nothing? An Empirical Assessment of the Georgia Voter Identification

 Statute,” performs exactly such a record linkage and matching process in order to

 determine the number of non-matching records between the voter registration records and

 the Drivers License files in the state of Georgia.44



 194. Professor Milyo’s specific critiques of the matching process are summarized in

 paragraph 22 of his report:

 “It is well known that state registration databases contain errors and that in general counts

 from such databases exaggerate the actual number of eligible and currently registered

 voters.” (Paragraph 22) He references my research on this subject, which relies on

 database errors identified by Catalist. And as support for his conjecture states that “[i]t

 is for this reason that much of the scholarly research on voter turnout in the United States



 44
    Professor Milyo’s report references this as Legislative Studies Quarterly in the citation
 in footnote 112 on page 33. The article appears in State Politics and Policy Quarterly 12
 (2012): 394-414.


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 eschews measures of turnout as a percent of registered voters and instead examines

 turnout relative to voting age population (VAP), citizen voting age population (CVAP),

 or eligible voting age population (VEP).”



 195. As discussed in the Overview and below, the analyses performed examine whether

 conclusions drawn using only the official State of Texas and federal databases to

 determine valid registrations are altered once potentially invalid cases, as identified by

 other data sources, are removed. In particular, one set of identifiers of potential

 deadwood, movers, and deceased individuals comes from Catalist, and is the source of

 the assessment of problematic records on registrations. My report and the analyses in the

 preceding part of this supplemental report show that the conclusions about the relative

 racial disparities in rates of non-matching are not sensitive to indicators of deadwood.



 196. Professor Milyo states that political scientists “eschew measures of turnout as a

 percent of registered voters.” This is is untrue. Registration lists are widely used in

 research on turnout, and turnout as a percent of registrations is a commonly used measure

 of participation rates. A sampling of applications of the use of registration lists for

 participation research includes: measures of turnout rates overall and of minority groups,

 in research nationwide and on the state of Texas,45 turnout rates in local areas,46 effects




 45
    Daron Shaw, Rudolfo O. de la Garza, and Jongho Lee, “Examining Latino Turnout in
 1996: A Three-State, Validated Survey Approach,” American Journal of Political
 Science 44 (2000): 338-346.
 46
    James G. Gimpel, Joshua J. Dyck, Daron R. Shaw, “Registrants, Voters, and Turnout
 Variability Across Neighborhoods,” Political Behavior 26 (2004): 343. See esp. page
 348.


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 of election laws,47 effects of political campaigns on participation,48 and as the official list

 of registered persons for purposes of drawing random sample surveys. On the last point,

 research by Professors Donald Green and Alan Gerber finds that registration based

 sampling provides more accurate forecasts of future election results than does traditional

 sampling procedures.49



 197. Professor Milyo’s central concern is with the amount of “deadwood” on the

 registration lists. He offers no direct examination of actual voter records to determine

 the number of such records. In paragraphs 23 to 25, he calculates the rate of deadwood

 two ways. First, he compares the registration rate for the state of Texas based on the

 number of records on the voter registration lists divided by the American Community

 Survey (ACS) estimate of the Citizen Voting Age Population with the Current Population

 Survey (CPS) estimate of the percent of voting age citizens who are registered as reported

 in the November supplement of the CPS. Second, he assumes over reporting of

 registration and deflates the CPS registration number and inflates his estimate of

 deadwood.




 47
    Priscilla L. Southwell and Justin Burchett, “The Effect of All-mail Elections on Voter
 Turnout,” American Politics Research 28 (2000): 79-79
 48
    Alan S. Gerber, James G. Gimpel, Donald P. Green, and Daron R. Shaw, “How Large
 and Long-lasting Are the Persuasive Effects of Televised Campaign Ads? Results from a
 Randomized Field Experiment” American Political Science Review 105 (2011): 135-
 150.
 49
    Donald R. Green and Alan S. Gerber, “Can Registration-Based Sampling Improve the
 Accuracy of Midterm Election Forecasts?” Public Opinion Quarterly 70 (2006): 197-
 223.


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 198. In paragraph 23 he calculates that there is an 8.3 percentage point difference

 between the official records and the CPS reports (81.2 percent versus 72.9 percent).



 199. He offers no statistical assessment, or standard error with this figure, even though

 the CPS is a random sample of a few thousand people of each state’s population and,

 thus, is estimated with uncertainty. The CPS figure, then, is itself an uncertain number.

 No margin of error is reported with his projected number of Deadwood.



 200. In making his assessment of the amount of deadwood, he makes no assessment of

 which records are likely Deadwood or offers remedies for questionable records on the

 registration files so that a correct assessment the matching algorithm can be conducted



 201. In paragraph 25 he states that there may be reporting problems with the CPS. This

 claim, of course, weakens the conjecture that the CPS should be taken as the measure of

 actual registration or turnout. Further, he assumes that those reporting problems take the

 form of over estimation of actual registration. No statistical evidence of the actual

 amount of over reporting in CPS is presented.



 202. Professor Milyo offers a range of potential deadwood from 0 to 24 percent. This is

 a very wide interval for an estimate, and suggests that this methodology for measuring

 the amount of deadwood is not very precise. Also, no standard errors (measures of

 uncertainty of the estimate) are presented.




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 203. Taking the interval 0 to 24 as an interval estimate of the possible true underlying

 rate of deadwood, his methodology does not appear to reject the hypothesis that the true

 rate of deadwood is 0. Zero is in the interval of potential values estimated using his

 methodology. It may be that Professor Milyo does not intend to construct such an

 interval estimate using his methodology, but, if that is the case, it is unclear what

 statistical inferences can be drawn from the analyses presented.



 204. Professor Milyo’s calculation is uninformative about the rates of NO MATCHES.

 It is simply an estimate of deadwood. It has no information about the rate with which

 records on TEAM match to records on state and federal identification databases. It is

 possible that all of his potential deadwood cases in fact MATCH to an identification

 database.



 205. Professor Milyo claims in paragraph 15 on page 3 that the racial effects are biased

 upward in my analysis resulting from database matches, but he provides no evidence to

 that effect. Specifically, he provides no estimate of the amount of Deadwood or resulting

 biases by racial group.



 206. My analysis of the TEAM data is sensitive to the possibility that some of the

 records are obsolete, individuals who have moved, or deceased. The database process,

 as described, removes all individuals identified as deceased using the information on the

 State of Texas DPS files. Again, as stated in my original report, I take the State of Texas

 databases as the official record of registered voters and holders of identifications. To




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 examine whether the inferences drawn are sensitive to potential deadwood, I impose

 various filters for potential deadwood, using indicators from TEAM, DPS, and Catalist.

 These are: Suspense Voters on TEAM; Expired IDs on DPS; Catalist indicators of

 Deadwood, Deceased, and NCOA from Catalist. These indicators may be over inclusive

 in classifying deadwood. For example, some registrants on the Suspense list vote in the

 next election. So analyses with these indicators erred on the side of excluding too many

 cases as deadwood rather than too few.




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 X. Conclusion



 207. This analysis has found statistically significant and robust racial differences in the

 rate with which registered voters in the TEAM database fail to match to records in state

 and Federal databases of people with photo identification required for voting under SB

 14. The results in Table VI.1 show that 2 percent of Anglos DO NOT MATCH to

 applicable SB 14 identification databases, compared with 8 percent of Blacks and 6

 percent of Hispanics. The results are strikingly similar in analyses relating Census racial

 data to the incidence of NO MATCH and in analyses relating individual level data on NO

 MATCH and to Catalist estimates of individual race. Those differences persist when I

 consider eligibility for exemption, alternative definitions of the pool of registered voters,

 and alternative racial classifications (such as SSVR). The observed differences imply

 that Black and Hispanic registered voters are significantly less likely than Anglo

 registered voters to possess applicable SB 14 ID or qualify for an exemption under the

 law.




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            I declare under penalty of perjury that the foregoing is true and
    correct. Executed this 16th day of September, 2014.




                                                           _____________________________________
                                                                    Stephen D. Ansolabehere
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                                     TABLES


 Table V.1. Combinations of Fields Used as Matching Identifiers
 Combination
              PRIMARY MATCHES
 Code
              First Name + Last Name + Gender + DOB +
 A
              Residential ZIP + Residential Street Number
              Last Name + Gender + DOB + Residential ZIP + Residential Street
 B
              Number
 C            Gender + DOB + Residential ZIP + Residential Street Number
              First Name + Last Name + Date of Birth +
 D
              Residential ZIP + Residential Street Number
              First Name + Last Name + Gender +
 E
              Residential ZIP + Residential Street Number
 F            First Name + Last Name + Gender + DOB
 M            Texas Driver License Number (where available)

               SECONDARY MATCHES
 G             First Name + Middle Initial + Last Name + DOB
 H             Last 4-Digit SSN + DOB + Residential ZIP
 I             Last 4-Digit SSN + First Name + Last Name + DOB
 K             First Name + Last Name 1 + Middle Initial + DOB
 L             First Name + Last Name 2 + Middle Initial + DOB
 SSN           9-Digit Social Security Number




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                                           Matching Combinations
Texas DPS        Primary Sweeps            Combination A: First name + Last name +
Databases        (All TEAM records)        Gender + DOB + Street number + ZIP
                                           Combination B: Last name + Gender + DOB +
                                           Street number + ZIP
                                           Combination C: Gender + DOB+ Street number
                                           + ZIP
                                           Combination D: First name + Last name +
                                           Street number + ZIP
                                           Combination E: First name + Last name +
                                           Gender + Street number + ZIP
                                           Combination F: First name + Last name + DOB
                                           + Gender
                                           Combination M: Texas Driver License Number
                 Secondary Sweeps          Combination G: First name + Last name +
                 (TEAM records with        Middle Initial + DOB
                 no primary match)         Combination H: DOB + ZIP + SSN4
                                           Combination I: First name + Last name + DOB
                                           + SSN4
                                           Combination K: First name + Last name 1 +
                                           Middle Initial + DOB
                                           Combination L: First name + Last name 2 +
                                           Middle Initial + DOB50
                                                      SSN: 9-digit Social Security Number
Federal          Primary Sweeps            Same as primary sweeps for DPS databases,
Identification   (All TEAM records         except for Texas Driver License Number
and Disability   against Federal records   (Combinations A-F)
Databases        with a Texas address)
                 Secondary Sweeps          Same as secondary sweeps for DPS databases
                 (TEAM records with        (Combinations G-L and SSN)
                 no primary match
                 against Federal records
                 with a Texas address)
                 Nationwide Sweeps         All sweeps without address criteria
                 (TEAM records with        (Combinations F, G, I, K, L, and SSN)
                 no primary or
                 secondary match
                 against nationwide
                 Federal records)

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    “Last name 1” is the first half of a hyphenated last name, and “Last name 2” is the
 second half of a hyphenated last name. Combinations K and L in TEAM are each
 matched against Combination G, Combination K, and Combination L in the identification
 and disability databases for a total of six matching sweeps.


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 Table V.2. Number of Matches of TEAM Records to State and Federal Databases
 Overall and By Racial Group, using Catalist Racial Estimates
 (Percent of TEAM Records that Match to a Given ID or Disability Database)

 Database      Race

 State of
 Texas
               White       Black        Hispanic       Other         All
 ID
 Databases

 Driver        7,567,441   1,343,250    2,511,871      448,042       11,872,604
 License       (91.3%)     (78.1%)      (82.2%)        (90.9%)       (87.5%)
               425,399     315,682      499,103        29,429        1,269,613
 Personal ID
               (5.1%)      (18.4%)      (16.3%)        (5.1%)        (9.4 %)
 Concealed
               588,087     57,129       72,953         14,839        733,008
 Handgun
               (7.1%)      (3.3%)       (2.4%)         (3.0%)        (5.4%)
 License
 EIC           69          43           51             0             163

 Federal
 ID
 Databases

               3,776,207   424,682      1,151,608      378,666       5,731,163
 DOS
               (45.5%)     (24.7%)      (37.7%)        (76.8%)       (42.3%)
               427,191     81,688       116,460        13,015        638,354
 DOD
               (5.2%)      (4.8%)       (3.8%)         (2.6%)        (4.7%)
               106,051     45,005       373,576        210,454       735,086
 USCIS
               (1.3%)      (2.6%)       (12.2%)        (42.7%)       (5.4%)
               186,695     49,179       57,635         2,496         296,005
 VHA (VIC)
               (2.3%)      (2.9%)       (1.9%)         (0.5%)        (2.2%)

 Federal
 Disability
 Databases

 SSA:          419,065     167,980      202,368        14,925        804,338
 Disability    (5.1%)      (9.8%)       (6.6%)         (3.0%)        (5.9%)
 VBA:          118,883     31,952       35,743         1,938         188,516
 Disability    (1.4%)      (1.9%)       (1.2%)         (0.4%)        (1.4%)




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 Table V.3.A Total Records and Records for which a Match or No Match was found to Any
 Federal or Any State Identification Database using DOJ Algorithm*
 (includes cases DPS flags as deceased)

                                             ANY FEDERAL RECORD

                            No Match to a            Match to a
                                                                               ALL
                             Federal ID              Federal ID
        No
 ANY    Match to               622,527                288,308                 910,835
 STATE  State ID
 RECORD Match to
                              6,615,749              6,037,814              12,653,563
        State ID

             ALL              7,238,276              6,326,122              13,564,398

 * Individuals who have successfully applied for a disability exemption are counted as
 having matched.


 Table V.3.B Total Records and Records for which a Match or No Match was found to Any
 Federal or Any State Identification Database using DOJ Algorithm*, Excluding cases DPS
 flags as deceased

                                             ANY FEDERAL RECORD

                            No Match to a            Match to a
                                                                               ALL
                             Federal ID              Federal ID
        No
 ANY    Match to               608,470                285,466                 893,936
 STATE  State ID
 RECORD Match to
                              6,573,924              6,019,716              12,593,640
        State ID

             ALL              7,182,394              6,305,182              13,487,576

 * Individuals who have successfully applied for a disability exemption are counted as
 having matched.




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 Table V.4.A Total Records and Records for which a Match or No Match was found to
 Any Federal or Any State Identification Database or any Federal Disability Database
 using DOJ Algorithm*
 (includes cases DPS flags as deceased)

                                                  ANY FEDERAL RECORD

                                     No Match to a      Match to a
                                     Federal ID or     Federal ID or         ALL
                                      Disability        Disability
 ANY STATE       No Match to
                                        548,387           362,448           910,835
 RECORD          State ID
                 Match to
                                       6,102,327         6,551,236        12,653,563
                 State ID

                 ALL                                     6,913,684        13,564,398
                                       6,650,714
 * Individuals who have successfully applied for a disability exemption are counted as
 having matched.


 Table V.4.B Total Records and Records for which a Match or No Match was found to
 Any Federal or Any State Identification Database or any Federal Disability Database
 using DOJ Algorithm* Excluding cases DPS flags as deceased

                                                  ANY FEDERAL RECORD

                                     No Match to a      Match to a
                                     Federal ID or     Federal ID or         ALL
                                      Disability        Disability
 ANY STATE       No Match to
                                        534,512           359,424           893,936
 RECORD          State ID
                 Match to
                                       6,062,306         6,531,334        12,593,640
                 State ID
                                       6,596,818
                 ALL                                     6,890,758        13,487,576

 * Individuals who have successfully applied for a disability exemption are counted as
 having matched.




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 Table VI.1. Estimated Percent No Match By Racial Group Using Census Racial Data:
 Ecological Regression Analyses of ACS CVAP and No Match Percent at Block-Group
 Level

                                                                  Homogeneous Block
                                 Ecological Regression*
                                                                     Groups***

                                 Estimated % No Match            Estimated % No Match
 Racial Group
                                    (Margin of Error)               (Margin of Error)

                                           2.0%                            3.1%
 Anglo
                                         (± 0.1%)                        (± 0.2%)
                                                              [N of Block Groups = 4,224]

                                                                          11.5%
                                           8.1%
 Black
                                                                         (± 0.4%)
                                          (± .2%)
                                                               [N of Block Groups = 465]

                                           5.9%                            8.6%
 Hispanic
                                          (± .2%)                        (± 0.4%)
                                                             [N of Block Groups = 1,554]
                                              Gross Percentage Point Disparity
                                                  in Rate of NO MATCH
     Black % - Anglo %
                                           6.1%                            8.4%
   Hispanic % – Anglo %
                                           3.9%                            5.5%

                                         Percent Difference in Rate of NO MATCH
    (Black %-Anglo %)/
                                           305%                           271%
          Anglo %
   (Hispanic %-Anglo %)/
                                           195%                           177%
          Anglo %
 * Number of Cases = 15,673 R-square = .354
 ** Level of analysis: Block Group;
 Dependent variable: Number NO MATCH in Block Group divided by ACS CVAP Estimate in
 Block Group;
 Multiple Regression of Percent CVAP Registered on HCVAP Percent and BCVAP Percent;
 Weighted by CVAP.
 *** Homogeneous block groups are areas in which at least 80 percent of the CVAP is of a given
 population.



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 Table VI.2. NO-MATCH and MATCH Percent By Racial Group, Using Catalist Racial
 Classification*

 Race                      NO-MATCH                 MATCH                  ALL

                              296,156              7,949,860
 Anglo                                                                   8,246,016
                              (3.6%)                (96.4%)

                              127,908              1,579,861
 Black                                                                   1,707,769
                              (7.5%)                (92.5%)

                              174,715              2,867,782
 Hispanic                                                                3,042,497
                              (5.7%)                (94.2%)
                               9,691                481,621
 Other                                                                    491,312
                              (2.0%)                (98.0%)
                              608,470              12,879,124
 All                                                                    13,487,594
                              (4.5%)                (95.5%)

                         Gross Percentage
                          Point Disparity


 Black% – Anglo%                3.9


 Hispanic% – Anglo%             2.1

                         Percent Difference
                           in Rate of NO
                              MATCH
 (Black%-Anglo%)
                               108%
 /Anglo%
 (Hispanic% - Anglo
                                58%
 %) /Anglo%
 * Baseline Universe: All Registration Records in TEAM less records indicated as
 Deceased by State of Texas Database




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 Table VI.3.A. Rate of NO-MATCH/NOT EXEMPTION ELIGIBLE/Not Age Vote-by-
 Mail Eligible
 By Racial Group, Using Ecological Regression*
                                                              NO-MATCH/ NOT
                          NO MATCH /         NO MATCH / Not     EXEMPTION
 RACE                     Not Exemption      Age Vote-By-Mail ELIGIBLE/ Not Age
                             Eligible             Eligible       Vote-by-Mail
                                                                   Eligible
                               1.8%                 1.2%             1.1%
 Anglo
                             (+/- 0.1)           (+/- 0.04)       (+/- 0.05)
                               6.4%                 6.4%             5.1%
 Black
                             (+/- 0.2)            (+/- 0.2)        (+/- 0.1)
                               5.3%                 4.8%             4.3%
 Hispanic
                             (+/- 0.2)            (+/- 0.1)        (+/- 0.1)
 N                                                 15,673
                              15,673                                       15,673

 R-Squared                      .416                .397                    .392

                                        Gross Percentage Point Disparity

 Black% – Anglo%               4.6%                5.2%                    4.0%


 Hispanic% – Anglo%            3.5%                3.6%                    3.2%

                                   Percent Difference in Rate of NO MATCH

 (Black%-Anglo%)
                              256%                 433%                    364%
 /Anglo%
 (Hispanic% - Anglo
                               194%                 300%                   291%
 %) /Anglo%
 * Baseline Universe: All Registration Records in TEAM less records indicated as
 Deceased by State of Texas Database




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 Table VI.3.B. NO-MATCH/NOT EXEMPTION ELIGIBLE/Not Age Vote-by-Mail
 Eligible
 By Racial Group, Using Catalist Racial Classification*

                                                                   NO-MATCH/ NOT
                          NO MATCH /            NO MATCH / Not       EXEMPTION
 RACE                     Not Exemption         Age Vote-By-Mail   ELIGIBLE/ Not Age
                             Eligible               Eligible          Vote-by-Mail
                                                                        Eligible
                              260,749               190,703             166,220
 Anglo
                               (3.2%)                (2.3%)              (2.0%)
                              107,193                98,532              82,525
 Black
                               (6.3%)                (5.8%)              (4.8%)
                              157,473               133,195             121,312
 Hispanic
                               (5.2%)                (4.4%)              (4.0%)
                                9,097                 7,339               6,928
 Other
                               (1.9%)                (1.5%)              (1.4%)
                              534,512               429,769             376,985
 All
                               (4.0%)                (3.2%)              (2.8%)
                                         Gross Percentage Point Disparity

 Black% – Anglo%               3.1%                  3.5%                   2.8%

 Hispanic% – Anglo%            2.0%                  2.1%                   2.0 %

                                     Percent Difference in Rate of NO MATCH

 (Black%-Anglo%)
                               97%                   152%                   140%
 /Anglo%
 (Hispanic% - Anglo
                               63%                  91%                    100%
 %) /Anglo%
 * Baseline Universe: All Registration Records in TEAM less records indicated as
 Deceased by State of Texas Database




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 Table VI.4.A. Percent NO MATCH Among Those Who Voted in 2010 or 2012*,
 Using Ecological Regression


 RACE                                2010                        2012


                                     0.8%                        0.6%
 Anglo
                                    (+/-0.1)                   (+/-0.04)


                                     3.3%                        4.2%
 Black
                                    (+/-0.2)                    (+/-0.2)


                                      1.9%                       2.0%
 Hispanic
                                    (+/- 0.1)                   (+/-0.1)

                                    15,652                      15,669
 N
                                      .094                       .242
 R-Squared

                                     Gross Percentage Point Difference


 Black% – Anglo%                     2.5%                        3.6%


 Hispanic% – Anglo%                  1.1%                        1.4%


                                       Relative Rate of NO MATCH

 (Black %- Anglo%)
                                     313%                        600%
 /Anglo %

 (Hispanic% - Anglo %)
                                     138%                        233%
 /Anglo%
 * Universe: All Registration Records in TEAM less records indicated as Deceased by
 State of Texas Database. All estimates weight Block Groups by the number of Citizen
 Voting Age Persons.




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 Table VI.4.B. Percent NO MATCH and NO MATCH/NOT EXEMPTION ELIGIBLE
 Among Those Who Voted in 2010 or 2012*,
 Using Catalist Racial Data

                                                              NO MATCH /
                             NO MATCH
                                                      NOT EXEMPTION ELIGIBLE
 RACE                 2010              2012              2010              2012
                     39,940            58,502            35,047            49.428
 Anglo
                     (1.2%)            (1.1%)            (1.0%)            (0.9%)
                     13,324            31,218            10,733            24,871
 Black
                     (2.6%)            (3.1%)            (2.1%)            (2.5%)
                     12,381            23,881            10,259            19,932
 Hispanic
                     (1.9%)            (1.8%)                              (1.5%)
                                                         (1.6%)
                      683              1,164               627             1,031
 Other
                     (0.7%)            (0.5%)            (0.6%)            (0.5%)
                     66,328           114,765            56,666            95,262
 All
                     (1.4%)            (1.5%)            (1.2%)            (1.2%)

                                   Gross Percentage Point Disparity
 Black% –
                      1.4%              2.0%             1.1%              1.6%
 Anglo%
 Hispanic% –
                      0.7%              0.7%             0.6%              0.6%
 Anglo%
                               Percent Difference in Rate of NO MATCH
 (Black%-
 Anglo%)              117%               182%            110%               156%
 /Anglo%
 (Hispanic% -
 Anglo %)             58%                64%              60%                67%
 /Anglo%
 * Universe: All Registration Records in TEAM less records indicated as Deceased by
 State of Texas Database




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 Table VII.1.A. Rates of NO MATCHES by Race Under Varying Definitions of the
 Potential Pool of Registered Voters*
 Ecological Regressions Using Census Racial Data

                  Excluding                                               Excluding
                                     Excluding        Excluding
                   Catalist                                            Catalist Flagged
 Race                             Suspense Voters     Expired ID
                  Deceased,                                              Records or
                                   From Pool of      from Pool of
                 Deadwood, or                                          Suspense Voter
                                    Registered        Registered
                    NCOA                                                or Expired ID
                     1.9%              1.4%               0.5%               0.5%
 Anglo
                   (+/- 0.1)         (+/- 0.1)         (+/- 0.05)         (+/- 0.05)
                     8.1%              7.7%               5.4%               5.3%
 Black
                   (+/-0.2)          (+/ 0.2)           (+/- 0.2)          (+/- 0.2)
                      5.9%             5.9%              4.3%               4.3%
 Hispanic
                    (+/- 0.2)        (+/- 0.2)         (+/- 0.1)          (+/- 0.1)
 N                   15,672           15,670            15,673             15,672
 R-Squared            .358             .371              .360               .356

                                    Gross Percentage Point Disparity
 Black% –
                     6.2%              6.3%              4.9%               4.8%
 Anglo%
 Hispanic% –
                     4.8%              4.4%              3.9%               3.8%
 Anglo%
                                Percent Difference in Rate of NO MATCH
 (Black%-
 Anglo%)              326%              450%            980%               960%
 /Anglo%
 (Hispanic% -
 Anglo %)             211%              321%            760%               760%
 /Anglo%
 * Universe: All Registration Records in TEAM less records indicated as Deceased by
 State of Texas Database. All estimates weight Block Groups by the number of Citizen
 Voting Age Persons.




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 Table VII.1.B. Rates of NO MATCHES by Race Under Varying Definitions of the
 Potential Pool of Registered Voters*
 Using Catalist Racial Data
                    Excluding                                      Excluding
                                      Excluding    Excluding
                     Catalist                                  Catalist Flagged
                                  Suspense Voters  Expired ID
 Race               Deceased,                                      Records or
                                    From Pool of  from Pool of
                  Deadwood, or                                  Suspense Voter
                                     Registered    Registered
                     NCOA                                        or Expired ID
                     262,937           211,815       125,138         83,957
 Anglo
                      (3.5%)            (2.9%)        (1.6%)         (1.3%)
                     114,151            99,615        68,305         48,533
 Black
                      (7.5%)            (6.7%)        (4.2%)         (3.7%)
                     158,616           143,220        98,355         74,383
 Hispanic
                      (5.7%)            (5.2%)        (3.4%)         (3.0%)
                       8,923             7,289         5,696          4,102
 Others
                      (2.0%)            (1.6%)        (1.2%)         (1.0%)
                     544,627           461,939       297,494        210,975
 All
                      (4.5%)            (3.9%)        (2.3%)         (2.0%)
                                   Gross Percentage Point Disparity
 Black% –
                     4.0%             3.8%              2.6%              2.4%
 Anglo%
 Hispanic% –
                     2.2%             1.3%              1.8%              1.7%
 Anglo%
                              Percent Difference in Rate of NO MATCH
 (Black%-
 Anglo%)             114%              131%             163%               185%
 /Anglo%
 (Hispanic% -
 Anglo %)             63%              79%              113%               131%
 /Anglo%
 * Universe: All Registration Records in TEAM less records indicated as Deceased by
 State of Texas Database




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 Table VII.2. Validation of Results With Alternative Racial Classification: Using
 Records With the Highest Confidence in the Racial Classification*
 Race                              NO MATCH                         MATCH
                                    148,070                         4,667,004
 Anglo
                                      (3.1%)                         (96.9%)

                                      44,622                         435,390
 Black
                                      (9.3%)                         (90.7%)
                                      71,305                        1,186,034
 Hispanic
                                      (5.7%)                         (94.3%)
                                       3,482                         217,020
 Other
                                       (1.6%)                        (98.4%)
                                      267,479                       6,505,448
 All
                                      (4.0%)                         (96.9%)

                                 Gross Percentage
                                  Point Disparity

 Black% – Anglo%                       6.2%


 Hispanic% – Anglo%                    2.6%

                           Percent Difference in Rate of
                                   NO MATCH
 (Black%-Anglo%)
                                       200%
 /Anglo%
 (Hispanic% - Anglo %)
                                        84%
 /Anglo%
 *Universe: All Registration Records in TEAM Assign a Racial Classification with High
 Confidence less records indicated as Deceased by State of Texas Database




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 Table VII.3. Validation of Results With Alternative Racial Classification Using
 Spanish Surname Voter Registrations: Comparison of No-Match rates of Spanish
 Surname Registered Voters and Others*
 Race                          NO MATCH                           MATCH
                                  177,292                        2,896,334
 SSVR
                                   (5.8%)                         (95.9%)
                                  431,170                        9,982,789
 Non-SSVR
                                   (4.1%)                         (95.9%)

                                  608,462
                                                                 12,879,123
 All
                                   (4.5%)                         (95.5%)


                           Gross Percentage Point
                                 Disparity

 SSVR – Non-SSVR                   1.7%

                        Percent Difference in Rate of
                                NO MATCH
 (SSVR – Non-
 SSVR)/Non-SSVR                     41%

 * Universe: All Registration Records in TEAM less records indicated as Deceased by
 State of Texas Database.




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 Table VII.4. Identification Match versus Disability Exemption Eligible*
                                             Disability Exemption Eligible

                                                     Match to
 STATE                    No Match to Disability                              ALL
                                                     Disability
 OR           No
 FEDERAL Match                   534,512               73,958               608,470
 ID           Match            12,006,771             872,353              12,879,124
              ALL              12,541,283             946,311              13,487,594
 * Universe: All Registration Records in TEAM less records indicated as Deceased by
 State of Texas Database




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 Table VIII.1a. Percent of Registered Anglos, Hispanics, and Blacks in Catalist Database
 who Voted in the State of Texas in 2010 and 2012: Current Active and Suspense Voters
                 2010                                 2012

                   %        Number        Number        %        Number       Number
                  Voted                                Voted      Voted      Not Voting
                             Voted       Not Voting
 Anglo
                  41.8%    3,364,053     4,689,493    64.3%     5,169,740     2,874,078

 Hispanic         22.0%     655,046      2,320,565    45.0%     1,340,119     1,635,492

 Black            31.3%     527,216       1,156,753 59.8% 1,007,153            676,821
                                      Gross Percentage Point Disparity
 Anglo% Vote-
 Black%Vote                     10.5%                                4.5%
 Anglo% Vote-
 Hisp% Vote                     19.8%                               20.3%
                                Percent Difference in Rate of Anglo Voting
                                    Relative to Minority Group Voting
 (Anglo % -
 Black %)                        34%                                  8%
 /Black %
 (Hispanic % -
 Anglo %)                        90%                                 43%
 / Hispanic %




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 Table VIII.1b. Percent of Registered Anglos, Hispanics, and Blacks in Catalist Database
 who Voted in the State of Texas in 2010 and 2012: Current Active Voters Only

                                2010                                2012

                    %        Number       Number         %        Number      Number
                              Voted       Not Vote                 Voted      Not Vote
                  Voted                                Voted
 Anglo
                  44.0%     3,260,374    4,157,144     68.2%     5,056,818    2,360,700

 Hispanic         23.1%      636,741     2,121,984     47.6%     1,312,378    1,446,347

 Black            33.2%      509,403     1,024,863     63.4%      973,266      561,000

                                    Gross Percentage Point Disparity

 Anglo % -
                               9.8%                                 5.2%
 Black %

 Anglo % -                     20.9%                               20.6%
 Hispanic %
                                  Percent Difference in Rate of Voting
 (Black%-
 Anglo%) /                      33%                                    8%
 Black %
 (Hispanic% -
 Anglo %)                       90%                                 43%
 / Hispanic %




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 Table VIII.2a. Ecological Regression Estimates of Registration as a Percent of Voting
 Age Population for Anglos, Hispanics, and Blacks in the State of Texas*
 (95 Percent Confidence Interval in Parentheses)

                        2006              2008             2010              2012

                       82.5%             87.1%             86.0%             84.7%
 Anglo**
                       (± 1.0)           (± 0.8)           (± 0.8)          (± 0.8)

                       55.0%             55.0%             53.0%             50.5%
 Hispanic
                       (± 1.8)           (± 1.6)           (± 1.4)          (± 1.4)

                       68.5%             70.5%             76.6%             64.7%
 Black
                       (± 1.6)           (± 2.8)           (± 2.0)          (± 2.6)

 Number of              8660              8660             8660              8660
 Cases (VTDs)

 R-Square               .115              .167              .211              .221

                                     Gross Percentage Point Disparity
 Anglo%-
 Black%                14.0%             16.6%             9.4%              20.0%
 Anglo%-
 Hispanic%             27.5%            32.1%             33.0%             34.2%
                            Percent Difference in Rate of Anglo Registration
                                Relative to Rate of Minority Registration
 (Black%-
 Anglo%) /              20%             24%             12%              31%
 Black %
 (Hispanic% -
 Anglo %)               50%             58%             62%              68%
 /Hispanic %
 * Level of analysis: VTD; Dependent variable: Number Registered (on TEAM) divided
 by CVAP; Weighted by CVAP; Multiple Regression of Percent CVAP Registered on
 HCVAP Percent and BCVAP Percent.

 ** Includes Others.




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 Table VIII.2b. Ecological Regression Estimates of Registration as a Percent of Citizen
 Voting Age Population for Anglos, Hispanics, and Blacks in the State of Texas*(95
 percent confidence intervals in parentheses)

                        2006               2008             2010              2012

                       83.6%              88.0%             86.8%            87.2%
 Anglo**
                       (± 0.9)            (± 0.8)           (± 0.7)          (± 0.7)

                       80.7%              81.4%             79.0%            75.7%
 Hispanic
                       (± 2.1)            (± 1.9)           (± 1.4)          (± 1.4)

                       80.1%              81.6%             77.0%            74.7%
 Black
                       (± 3.0)            (± 2.6)           (± 2.0)          (± 2.5)
 Number of
 Cases (VTDs)           8655               8655             8655              8660
 R-Square               .001               .007              .007             .026
                                      Gross Percentage Point Disparity
 Anglo%-
 Black%                 3.4%               6.4%             9.8%             12.6%
 Anglo%-
 Hispanic%              2.9%               6.6%               7.8%             11.6%
                               Percent Difference in Rate of Anglo Registration
                               Relative to Rate of Minority Group Registration
 (Black%-
 Anglo%)                4%               8%             12%              17%
 /Black %
 (Hispanic% -
 Anglo %)               4%               8%             10%              15%
 /Hispanic %
 * Level of analysis: VTD; Dependent variable: Number Registered (on TEAM) divided
 by CVAP; Weighted by CVAP; Multiple Regression of Percent CVAP Registered on
 HCVAP Percent and BCVAP Percent.
 ** Includes Others.




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 Table VIII.3a. Ecological Regression Estimates of Voting Rates Among Groups as a
 Percent of Voting Age Population of Anglos, Hispanics, and Blacks in the State of
 Texas*
 ( 95 Percent Confidence Interval in Parentheses)
                         2006               2008             2010              2012

                        36.4%              60.8%            40.6%              61.1%
 Anglo**
                        (± 0.4)            (± 0.6)          (± 0.4)            (± 0.5)

                         8.4%              19.2%             8.5%              18.1%
 Hispanic
                        (± 0.7)            (± 0.6)          (± 0.8)            (± 1.0)

                        12.8%              40.2%            19.4%              39.2%
 Black
                        (± 1.2)            (± 1.9)          (± 1.3)            (± 1.8)
 Number of
 Cases (VTDs)            8660               8660             8660              8660
 R-Square                .398               .392             .442               .431
                                       Gross Percentage Point Disparity
 Anglo%-
 Black%                 23.6%              20.6%            21.2%              21.8%
 Anglo%-
 Hispanic%              28.0%              41.6%              32.2%            43.0%
                                  Percent Difference in Rate of Anglo Voting
                                      Relative to Minority Group Voting
 (Black%-
 Anglo%)                184%             51%            108%             56%
 /Black %
 (Hispanic% -
 Anglo %)               333%            217%            378%            238%
 /Hispanic %
 * Level of analysis: VTD; Dependent variable: Number Registered (on TEAM) divided
 by CVAP; Weighted by CVAP; Multiple Regression of Percent CVAP Registered on
 HCVAP Percent and BCVAP Percent.

 ** Includes Others.




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 Table VIII.3b. Ecological Regression Estimates of Voting Rates Among Groups as a
 Percent of Citizen Voting Age Population of Anglos, Hispanics, and Blacks in the State
 of Texas*
 (95 Percent Confidence Interval in Parentheses)
                        2006                2008             2010              2012

                        36.8%              61.6%            41.1%              61.8%
 Anglo**
                        (± 0.4)            (± 0.5)          (± 0.4)            (± 0.5)

                        13.2%              29.9%            13.6%              28.8%
 Hispanic
                        (± 0.9)            (± 0.6)          (± 0.9)            (± 1.2)

                        15.0%              44.7%            21.8%              43.3%
 Black
                        (± 1.2)            (± 1.9)          (± 1.3)            (± 1.8)

 Number of              8655                8655             8655              8655
 Cases (VTDs)

 R-Square                .273               .212             .296               .244

                                       Gross Percentage Point Disparity
 Anglo%-
 Black%                 21.8%              16.9%            19.3%              18.4%
 Anglo%-
 Hispanic%              23.6%              31.7%              27.4%            33.1%
                                  Percent Difference in Rate of Anglo Voting
                                      Relative to Minority Group Voting
 (Black%-
 Anglo%)                145%                38%              89%                43%
 /Black %
 (Hispanic% -
 Anglo %)               179%               106%              202%              115%
 /Hispanic %

 * Level of analysis: VTD; Dependent variable: Number Registered (on TEAM) divided
 by CVAP; Weighted by CVAP; Multiple Regression of Percent CVAP Registered on
 HCVAP Percent and BCVAP Percent.

 ** Includes Others.




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 Table VIII.4. Current Population Survey Estimates of Percent of Anglo, Hispanic, and
 Black Adult Citizens who are Registered and who Voted in the State of Texas*

                                   Percent Reported Being Registered**

                        2006             2008              2010              2012

                       72.8%             73.6%            66.9%             73.0 %
 Anglo
                       (± 3.2)          (± 3.0)           (± 3.2)           (± 3.0)

                       58.1%             54.3%            53.3%             54.5%
 Hispanic
                       (± 7.0)          (± 6.0)           (± 7.2)           (± 6.8)

                       64.6%             74.0%            61.2%             72.8 %
 Black
                       (± 8.8)          (± 7.2)           (± 7.8)           (± 7.0)

                                       Percent Reported Voting**

                        2006             2008              2010              2012

                       45.2%             64.7%            43.8%             60.9 %
 Anglo
                       (± 3.6)          (± 3.2)           (± 3.2)           (± 3.2)

                       25.4%             37.8%            23.1%             38.8%
 Hispanic
                       (± 6.2)          (± 5.8)           (± 6.0)           (± 6.6)

                       36.6%             65.8%            37.7%             62.5%
 Black
                        (± 9.0)           (± 7.8)           (± 7.8)         (± 7.6)
 *Source: Current Population Survey, various years, “Voting and Registration and
 Supplement,” Table 4b. http://www.census.gov/hhes/www/socdemo/
 voting/publications/p20/index.htm (last accessed June 6, 2014).
 **95 Percent Confidence Interval in Parentheses.




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 Table VIII.5. Current Population Survey Estimates of Percent of Registered Anglos,
 Hispanics, and Blacks who Voted in the State of Texas from 2006 to 2012*

                       2006              2008              2010             2012

                       62.5%            87.8%             65.4%            83.4 %
 Anglo
                       (± 3.2)          (± 3.0)           (± 3.0)          (± 3.0)

                       43.8%            69.5%             43.4%            71.3%
 Hispanic
                       (± 7.0)          (± 6.0)           (± 7.2)          (± 6.8)

                       56.7%            88.5%             61.7%            85.9%
 Black
                       (± 8.8)          (± 7.6)           (± 7.8)          (± 7.0)
                                    Gross Percentage Point Disparity
 Anglo% -
 Black%                5.8%              -0.7%             3.7%             -2.5%
 Anglo% -
 Hispanic%             18.7%            18.3%             22.0%            12.1%
                                   Percent Difference in Rate of Voting
 (Black%-
 Anglo%)                 10%               -1%             06%                -3%
 /Black %
 (Hispanic% -
 Anglo %)                43%               26%             51%               17%
 /Hispanic %
 *Source: Current Population Survey, various years, “Voting and Registration and
 Supplement,” Table 4b. http://www.census.gov/hhes/www/socdemo/voting/
 publications/p20/index.htm(last accessed June 6, 2014).




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 Table X.1. Comparison of SSN9 Match and A/D/G/N Match Rates


                                            SSN MATCH
 Primary Match
 Using A/D/G/N
 Combinations        NO SSN MATCH           SSN MATCH            Total
 NO
 A/D/G/N                 1,207,739            135,686          1,343,425
 MATCH

 A/D/G/N                  119,601            5,249,230         5,368,831
 MATCH

 Total                   1,327,340           5,384,916         6,712,256




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 APPENDIX


 List of Documents Appended Following Appendix Tables
 Ex. A – DOJ Algorithm
 Ex. B – Texas Algorithm
 Ex. C – U.S. State Department Declaration
 Ex. D – U.S. Defense Department Declaration
 Ex. E – U.S. Citizenship and Immigration Services Declaration
 Ex. F– U.S. Social Security Administration Declaration
 Ex. G – U.S. Department of Veterans Affairs, Veterans Benefits Administration
 Declaration
 Ex. H – U.S. Department of Veterans Affairs, Veterans Health Administration
 Declaration
 Ex. I – Rebuttal Report of Professor Charles Stewart, South Carolina v. United States
 (D.D.C.).
 Ex. J – Curriculum Vitae of Dr. Stephen Ansolabehere




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 NOTE: Table A.V.1 not updated since original data production


          Table A.V.1. Completeness and Uniqueness of Identifiers on TEAM
          and State of Texas DPS Driver License Databases
                               Texas Registered Voter Texas Department of
                               List                    Public Safety (DPS)
          Identifier           (TEAM)                  (DL only)
                               Percent      Percent    Percent      Percent
                               Complete     Unique     Complete Unique
                       A       99.7         100.0      100.0        95.7
                       B       99.8         99.5       100.0        95.5
                       C       99.8         99.2       100.0        95.4
          Primary
                       D       99.9         99.8       100.0        95.7
          Matches
                       E       99.8         98.0       100.0        94.1
                       F       99.8         97.9       100.0        95.4
                       M       76.3         98.7       100.0        95.7
                       G       85.0         98.3       88.1         95.9
                       H       62.3         99.7       100.0        95.7
          Secondary I          62.3         88.7       100.0        95.7
          Matches      K       85.0         98.3       88.1         95.9
                       L       0.7          100.0      1.1          88.4
                       SSN     49.5         98.8       100.0        95.6
          Number of
                               13,564,416              16,052,332
          Records




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 NOTE: Table A.V.2 not updated since original data production

         Table A.V.2. Completeness and Uniqueness of Identifiers on State of
         Texas Voter DPS Public Safety (ID) and Texas License to Carry
         Databases

                                                       DPS Personal
                               DPS License to Carry
                                                       Identification Card
         Identifier
                               Percent      Percent    Percent       Percent
                               Complete     Unique     Complete Unique
                     A         99.9         100.0      100.0         95.6
                     B         99.9         99.5       100.0         96.3
                     C         99.9         99.2       100.0         96.2
         Primary
                     D         99.9         99.8       100.0         96.0
         Matches
                     E         100.0        98.0       100.0         96.1
                     F         100.0        97.9       100.0         96.4
                     M         98.0         98.7       100.0         96.7
                     G         87.6         98.3       79.2          96.6
                     H         99.9         99.7       100.0         95.7
         Secondary I           99.9         98.0       100.0         95.7
         Matches     K         87.6         98.0       79.2          95.9
                     L         0.01         98.6       1.7           88.4
                     SSN       99.9         98.2       99.5          95.6
         Number of Records     835,536                 3,396,657




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 NOTE: Table A.V.3 not updated from August 15, 2014 version


    Table A.V3. Number Matches of TEAM records to State of Texas Identification
    Databases By Record Identifier
                       DPS Driver     DPS Public            DPS License
    Identifier
                       License        Safety ID             to Carry
                  A    8,247,986      787,346               533,958
                  B    8,422,296      805,092               545,814
                  C    8,557,902      829,268               552,372
    Primary
                  D    8,281,572      790,781               535,897
    Matches
                  E    8,195,758      802,261               528,436
                  F    9,763,774      1,107,209             676,170
                  M    7,953,620      504,694               290,779
                  G    61,458         14,209                5,316
                  H    27,408         9,736                 2,189
    Secondary I        43,291         9,367                 3,902
    Matches       K    64,523         15,690                5,501
                  L    608            226                   50
                  SSN 107,766         27,451                10,750
    Any Identifier     10,663,738     1,284,658             733,008




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      Table A.V4. Number Matches of TEAM records to Federal Identification
      Databases By Record Identifier
                         DOD             DOS                   USCIS
      Identifier         Military        Passport or           Citizenship
                         Identification  Passport Card         Document
                   A     350,515         3,018,662             207,387
                   B     357,465         3,107,218             221,813
      Primary      C     365,985         3,202,237             213,238
      Matches      D     352,008         3,036,730             236,996
                   E     348,402         3,000,346             206,663
                   F     433,861         4,521,683             304,530
                   G     786             11,404                30,225
                   H     1,569           31,747                51,524
      Secondary I        2,379           23,477                60,063
      Matches      K     1,111           16,810                17,378
                   L     163             1,001                 1,817
                   SSN 8,127             150,323               52,938
      Any Nationwide
                         166,128         5,386,264             323,425
      Match51
      Any Identifier     638,354         5,731,163             735,086




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   For DOS, this includes additional matches that were performed in order to deal with a
 different data storage system used by the Department of State.


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    Table A.V5. Number Matches of TEAM records to Federal Identification and
    Exemption Databases By Record Identifier
                        VA (VHA)           VA (VBA)          SSA
    Identifier          VIC/VHIC           Disability        Disability
                        (Identification)   (Exemption)       (Exemption)
                A       180,483            100,758           412,295
                B       186,754            103,528           434,720
    Primary     C       190,053            105,868           450,148
    Matches     D       181,146            101,347           417,348
                E       181,332            101,491           420,879
                F       235,188            146,009           636,806
                G       454                120,591           2,238
                H       1,063              78,406            9,115
                I       1,509              95,516            5,096
    Secondary
                                                             2,704
    Matches     K       617                120,918
                  L     38                391                 236
                  SSN   5,951             78,191              268,58
    Any Nationwide
                        33,487            25,228              73,236
    Match
    Any Identifier      296,005           188,516             804,338




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 Table A.VI.1. Incidence of NO-MATCH By Racial Group, Using Catalist Racial
 Classification* and Excluding Records indicated as NCOA, Deceased or Deadwood by
 Catalist

                                      No Match /
                  No Match /                           No Match / Not EXEMPTION
                                       Not Age
 Race          Not EXEMPTION                                   ELIGIBLE/
                                     Vote-By-Mail
                  ELIGIBLE                             Not Age Vote-by-Mail Eligible
                                       Eligible
                    230,617            174,158                    151,795
 Anglo
                     (3.1%)             (2.3%)                     (2.0%)
                     95,369             89,525                     75,020
 Black
                     (6.2%)             (5.8%)                     (4.9%)
                    142,863            123,463                    112,577
 Hispanic
                     (5.1%)             (4.4%)                     (4.0%)
                      8,376              6,844                      6,466
 Other
                     (1.8%)             (1.5%)                     (1.4%)
                    477,225            393,990                    345,858
 All
                     (3.9%)             (3.2%)                     (2.8%)
                                 Gross Percentage Point Disparities
 Black % -
                     3.1%                 3.5%                        2.9%
 Anglo %
 Hispanic %
                     2.0%                 2.1%                        2.0%
 – Anglo %

                                   Relative Rate of NO MATCH

 Black % /
                      1.75                2.09                        1.97
 Anglo %
 Hispanic %
                      1.30                1.43                        1.44
 / Anglo %




                                        119
